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                     UNITED STATES DISTRICT COURT
               IN THE WESTERN DISTRICT OF MASSACHUSETTS
                           SPRINGFIELD I MA.
                  Civil Action No. 3:17-CV-30174-MAP

    THOMAS FORBES, as he is the                 )
    Personal Representative of the              }
    Estate of GEORGE J. FORBES,                 )
                                                )
                            PLAINTIFF,          }
                                                )
    v.                                          )
                                                )   V I D E 0 TA P E D
                                                )
    GREGORY TRUCKING COMPANY, INC.i             )   D E P 0 S I T I     o   N
    WILEY LENUE HOOKS, JR.i                     )
    GREGORY LEASING COMPANY, INC.i              )
    BSGLEASING, INC.i                           )
    B&C TIMBERS LLCi and                        )
    BB&S ACQUISITIONS CORP.,                    )
                                                }
                            DEFENDANTS.         )
                                                )



                          WILEY LENUE HOOKS, JR.


    TAKEN AT:
    THE HILTON GARDEN INN
    The Dobbs Boardroom
    1017 Gateway Crossing Drive
    Statesville, NC 28677

                          Friday, April 26/ 2019
                                 9:12 A.M.
                                Brenda Carter
                               Court Reporter

                         Wyatt Legal Services, LLC
                          3936 Elizabeth Glen Way
                            Jamestown, NC 27282
                              (336) 510-8515



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                                                                          driver's license)




•                APPEARANCES OF COUNSEL

        Dino M. Tangredi, Esquire
        lHE MILES PRATI HOUSE
        106 Mount Auburn Street
        Watertown, MA 02472
                                                                 Page 3

                                                                            Name
                                                                                        EXHIBITS (Cont.)

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        Attorney for Plaintiff                                              EXHIBIT EIGHT              Mr. Tangredi          146
       Thomas P. Schuler, Esquire
                                                                            (Copies of mileage log book)
       LAW OFFICES OF STEVEN B. STEIN                                       EXHIBIT NINE              Mr. Tangredi          148
       P.O. Box 2903                                                        (Bill oflading from G&G Forest Products)
       Hartford, CT 06104-2903
       Attorney for Defendant BB&S Acquisition Cotp.

       Matthew O'Connor. Esquire
       MORRISON MAHONEY LLP
       250 Summer Street
       Boston, MA 02210
       Attorney for Defendants Gregory Trucking Company, Inc.,
       Gregory Leasing Company, Inc., and BSG Leasing. Inc.
       L. Jeffi"ey Meehan. Esquire
       DOHERTY. WALLACE. PILLSBURY. MURPHY
       1 Monarch Place, Suite 1900
       Springfield, MA 01144- J900
       Attorney for Defendant B&C Timbers, LLC
       Dawn A. Hanzlik-Hexemer, Esquire
       AMOS & KAPRAL, LLP
       1331 N. Center Street
       Hickory. NC 28601
       Attorney for Defendant B&C Timbers, LLC

       OTHER APPEARANCES
       Cecil Gregory, Gregory Trucking Co. and Gregory Leasing
       Company
       Herman Wyatt. Vidaographer




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•
                                                          Page     6                                                Page 8
                           STIPULATIONS                                  1   Tangredi for the plaintiffs.
              Pursuant to Notice and/or consent of the parties, the      2             MR. O'CONNOR: Matt O'Connor for
          deposition hereon captioned was conducted at the time and
          location indicated and was conducted before Brenda Carter,     3   Wiley Lenue Hooks, Jr., Gregory Trucking Company,
          Notary Public in and for the County of Alamance, State of      4   Gregory Leasing Company, and BSG Leasing.
          North Carolina at Large.
              Notice andlor defect in Notice of time, place, purpose     5             MR. MEEHAN: Jeffrey Meehan for B&C
          and method of taking the deposition was waived. Formalities    6   Timbers, LLC.
          with regard to sealing and filing the deposition were          7             MS. HANZLIK-HEXEMER: Dawn Hanzlik-
          waived, and it is stipulated that the original transcript,
          upon being certified by the undersigned court reporter,        8   Hexemer, B&C Timbers, LLC.
          shall be made available for nse in accordance with the         9             MR. SCHULER: Thomas Schwer for
          applicable rules as amended.
              It is stipulated that objections to questions and         10   BB&S Acquisitions Corporation.
          motions to strike answers are reserved until the testimony,   11             THE VIDEOGRAPHER: And the court
          or any part thereof, is offered for evidence, except that     12   reporter may swear the witness and we may begin.
          objection to the form of any question shall be noted herein
          at the time of the taking of the testimony.                   13          The witness, WILEY LENUE HOOKS, JR,
              Reading and signing of the testimony was requested        14   being first duly sworn to state the truth, the
          prior to the filing of same for nse as permitted by
          applicable rule(s).                                           15   whole truth, and nothing but the truth, testified
                                                                        16   as follows:
                                                                        17      (9:12a.m.)
                                                                        18                EXAMINATION
                                                                        19   BY MR. DINO TANGREDI:
                                                                        20      Q. Sir, could you tell us your full name?
                                                                        21       A. Wiley Lenue Hooks, Jr.
                                                                        22      Q. Mr. Hooks, thank you for coming today.
                                                                        23       A. You're welcome.
                                                                        24      Q. It's nice to meet you.
                                                                        25       A. Nice to meet you.




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                      THE VIDEOGRAPHER: We are on the
                                                          Page

           record. The time now is 9: 12. This is the video
           deposition of Mr. Wiley Len:ue Hooks, Jr., taken in
           the matter of Thomas Forbes, as he is the Personal
                                                                   7

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                                                                             coming here today?
                                                                                                                    Page 9
                                                                                Q. Were you a little bit nervous about

                                                                                A. Well, a little apprehension, yeah.
                                                                                Q. Understandable.
      5    Representative of the Estate of George J. Forbes,             S      A. It's not like going to the amusement
      6    Plaintift: versus Gregory Trucking Company,                   6   park, so-
      7    Incorporated; Wiley Lenue Hooks, Jr.; Gregory                 7      Q. We're going to probably talk about some
      8    Leasing Company, Incorporated; BSG Leasing,                   8   uncomfortable issues --
      9    Incorporated; B&C Timbers LLC; and BB&S                       9      A. I understand.
     10    Acquisition Corp., Defendants, being heard in the            10      Q. -- some sensitive issues, and I don't
     11    jurisdiction of the United States District Court             11   mean to make this difficult for you, okay? Do you
     12    in the Western District of Massachusetts, in                 12   know who I represent in this lawsuit?
     13    Springfield, Mass., Civil Action Number 3: 17-CV-            13      A. Yes, sir.
     14    30174-MAP.                                                   14      Q. Who do I represent?
     15           This deposition is being held at The                  15      A. The Forbes Estate.
     16    Hilton Garden Inn located at 1017 Gateway Crossing           16      Q. Good. So, I have a job I have to do for
     17    Drive in Statesville, North Carolina. Today is               17   them--
     18    Friday, April the 26th, 2019.                                18      A. I understand.
     19           My name is Herman Wyatt. I'm a                        19      Q. -- and I don't intend to try to
     20    certified legal video specialist with Wyatt Legal            20   embarrass you or intimidate you at all. Okay?
     21    Services, LLC. The court reporter, also with                 21      A. Well, the facts are the facts.
     22    Wyatt Legal Services, is Brenda Carter. Would                22      Q. Good. You just took an oath. What does
     23    counsel please introduce themselves for the                  23   that oath mean to you?
                                                                        24      A. It means my word's my honor.




•
     24    record?
     25               MR. TANGREDI: Attorney Dino                       25      Q. I had to take an oath as a lawyer.


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    Wiley Lenue Hooks, Jr.                                                                             4/26/2019
                                                                                   4 (Pages 10 to 13)



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                A. Vh-buh (yes).
                                                Page 10

                Q. I had to take an oath that says I won't
           assert a falsehood in a courtroom. This is just
           like a courtroom.
                A. Yes, sir.
                                                                1
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                                                                5
                                                                    surgery.
                                                                                                          Page 12
                                                                       Q. Any kind of high blood pressure issues?
                                                                       A. Well, that was part of the reason for my

                                                                       Q. If you don't mind, what was - what did
                                                                    youhave--
      6         Q. SO, I want you to know I take that a         6     A. I had open heart surgery.
      7    little seriously.                                    7     Q. Okay.
      8         A. I understand.                                8      A. Triple bypass.
      9         Q. Good. Do you think my clients blame you      9      Q.    Back in November?
     10    entirely for what happened?                         10      A.    November the 2nd.
     11         A. I suppose so, yeah. Yeah.                   11      Q.    You're doing well?
     12        Q. I don't know if it'll disappoint you,        12      A.    Doing great.
     13    but they don't.                                     13      Q.    Good. Do you presently drink alcohol?
     14         A. Oh, okay. If they did, I would              14      A.    No, I don't.
     15    understand why, yeah.                               15      Q. Did you stop drinking alcohol at some
     16        Q. But they don't.                              16   point?
     17        A. Okay.                                        17      A. July 27th, 2013.
     18        Q. They've sued you, but they've sued other     18      Q. You know the exact date?
     19    individuals and corporations, as welL Do you        19     A. I do.
     20    know who else they've sued?                         20     Q. Howcome?
     21        A. No, I've seen the list. I don't know         21     A. Beeanse the day I consciously woke up
     22    exactly who they all are, but I'm familiar with     22   and decided it was time to quit.
     23    the names.                                          23     Q. Had alcohol been a problem in your life
     24        Q. My clients think that many others hold       24   up to that point?
     25    responsibility in this case, not just you.          25             MR. O'CONNOR: Objection.




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            A. Yes, sir.
            Q. They've sued Gregory Trucking and
                                                Page 11


          Gregory Leasing and BSG Leasing and BB&S and B&C
          Timbers. They think some of these cOIporations
                                                                1
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                                                                                                          Page 13
                                                                      A. No. I mean, I just drank on my off time
                                                                    more than I should have and so -- so, I quit.
                                                                      Q. Was it a cause of other kinds of
                                                                    problems in your life, health problems?
      5   have some responsibility for what happened, too.      5           MR. O'CONNOR: Objection.
      6   Do you understand that?                               6      A. Primarily probably.
      7       A. I understand.                                  7      Q. Are you currently married?
      8       Q. Good How is your overall health, as            8      A. No, I'm not.
      9   you sit here today?                                   9      Q. Have you ever been married?
     10       A. Oh, it's good today. Yeah. I had open         10      A. I have been.
     11   heart surgery back in November, but my prognosis     11      Q. Do you have any children?
     12   is good.                                             12      A. I don't.
     13       Q. Okay. Jfyou need to take a break for          13      Q. Alcohol play any kind of a role in your
     14   any reason, just let us know, okay?                  14   family life?
     15       A. Thank you.                                    15      A. No.
     16       Q. Bathroom's around the comer. You've           16      Q. No? Okay. Have you used drugs in the
     17   got a water. Just call for a time-out. It'll be      17   past?
     18   okay.                                                18      A. lhave.
     19       A. Thank you.                                    19      Q. And have you stopped using drugs?
     20       Q. All right? When we talk -- when you           20      A. I did.
     21   talk about your health being good, do you have any   21      Q. Same time frame?
     22   issues with sleep apnea or anything like that?       22      A. Before.
     23       A. No.                                           23      Q. Before? Good. Why did you become a
                                                                    truck driver?



•
     24       Q. Any diabetes?                                 24
     25       A. No.                                           25      A. Well, my father who was retired from


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          building the interstate system decided to start
          running it with trucks and he bought a few trucks
          and we started hauling freight and I deeided to
          jump in and help him and my mother run that
          pompany and participate in it, so it was just a
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                                                                                                          Page 16
                                                                    particular hour and stop and get up in the morning
                                                                     and proceed with my load and try to avoid the
                                                                    traffic in Connecticut, which I couldn't stand, in
                                                                    the morning.
                                                                        Q. I know what you're talking about.
      6   natural progression kind ofthing.                     6       A. Yeah. So, just planning, you know, as
      7      Q. How old were you when you became a truck        7   far as making it easier on yourself and dealing
      8   driver?                                               B   with the traffic, so --
      9      A. About 40-something, 4142.                       9       Q. It's also a lot of regulations for--
     10       Q. What did you do before that?                  10       A. There are.
     11      A. I was a service technician. I had a --         11       Q. -- truck drivers, aren't there?
     12   I was self-employed out in California. Home          12       A. Yeah. Yeah.
     13   entertainment-type stuff, videos, audio stuff.       13       Q. Do you believe a professional tractor
     14      Q. Do you consider yourself a professional        14   trailer truck driver has to have experience?
     15   truck driver?                                        15              MR. O'CONNOR: Objection.
     16      A. I do.                                          16       A. Well, it helps, yeah, with anything,
     17      Q. Do you currently drive a truck?                17   yeah.
     18      A. No,1 don't.                                    lB       Q. How does a tractor trailer truck driver
     19      Q. Do you believe that a tractor trailer          19   get experience?
     20   truck driver has to have specialiZed skills?         20       A. Well, you know, there's training --
     21             MR. O'CONNOR: Objection.                   21   there's truck driver training schools, but other
     22      A. I do.                                          22   than that, your experience comes from experience,
     23      Q. Like what?                                     23   over time. I mean, you live and learn.
     24      A. Well, particularly in the flatbed              24       Q. And I'm just guessing, but did you get a
     25   division, you need to know how to secure freight     25   lot of experience with your dad sitting in the




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          onto a truck, you need to know the capacity of the
          truck, you need to know whether you're going to
          use chains, straps. I mean, there's a variety of
          things you need to know to make sure you can haul
                                                                1
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                                                                    passenger's seat?
                                                                                                          Page 17

                                                                        A. That and the fact that I spent a lot of
                                                                    time on aircraft carriers when I was younger and
                                                                    that's a very intense environment and safety's
      5   that load safely and effiCiently.                     5   paramount and your life's on the Une at any given
      6      Q. There's training that goes into                 6   day. One time, I heard it was the second
      7   preparing you to become a professional truck          7   deadliest job in the world and you got 80
      8   driver -                                              B   airplanes on four acres of deck and one wrong move
      9     A. 1-                                               9   and you're dead, and I've seen it happen.
     10     Q. -- right?                                       10      Q. You were in the Navy?
     11     A. IbeUeve so.                                     11      A. I was in the Navy.
     12     Q. Yeah. Do you believe a professional             12      Q. What years?
     13   tractor trailer truck driver has to have             13       A. From '78 to '86.
     14   specialized knowledge, also?                         14      Q. It's the second deadliest job?
     15              MR. O'CONNOR: Objection.                  15      A. I can't imagine what the tirst one is.
     16      A. It would help.                                 16      Q. I was going to ask you if you know.
     17      Q. Like what?                                     17      A. Probably bomb disposal.
     1B      A. Well, like knowing the traffic patterns        18      Q. I think it might be oilrigs --
     19   in different cities and trying to avoid heavy        19      A. If I had to take a -
     20   traffic in particular areas. If I was going          20      Q. -- or something.
     21   through Atlanta, I'd try to - because if you         21      A. - I guess, yeah.
     22   avoid traffic, the law of averages says there's      22      Q. Does a professional tractor trailer
     23   less chance, there'll be less cars, of something     23   truck driver need any special equipment to perform




•
     24   happening. I mean, my running up to New England,     24   their job?
     25   I scheduled myself so I could get up there at a      25             MR. O'CONNOR: Objection.


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                                                     Page 18                                                  Page 20
      1      A. Depends on what avenue you're pursuing.         1   make it and some fall through the weeds.
      2   If you're a van driver, not particularly. If          2     Q. Have you noticed any consistent
      3   you're hauling flatbeds, maybe a little more so.      3   characteristic traits of the good ones?
      4   If you're doing oversize loads, even more so. You     4      A. Characteristics, traits of the good ones
      5   know, there's several different divisions of          5   are, you know, attention to detail, you know, just
      6   trucking out there, so -                              6   knowing through experience how to do it, I guess.
      7      Q. And I understand you, working for               7      Q. All right. Do you expect that a
      B   Gregory Trucking, used mostly, or almost              8   professional tractor trailer truck driver will
      9   exelusively, flatbeds; is that right?                 9   meet a Qigher standard of driving performance?
     10     A. That's 99.9 percent of all I've ever            10      A. Yes.
     11   done is flatbed.                                     11          MR. O'CONNOR: Objection.
     12     Q. SO, what kind of special equipment did          12       Q. Higher--
     13   you need for that?                                   13             MR. O'CONNOR: You can answer when
     14      A. Chains, oversize load straps. You need         14   I say that--
     15   to know, you know, how to secure a load, what it's   15             THE WITNESS: Oh, okay.
     16   going to take to secure a load. I mean, if you       16             MR. O'CONNOR: -- unless I tell you
     17   got a piece of equipment on there, it may need to    17   notto.
     18   have chains on it. A load of lumber, you just        18       Q. We're going to keep talking.
     19   need to have nylon straps which are rated for that   19      A. Gotcha.
     20   particuiar job, so you need to know one from the     20      Q. Hc's got to do his --
     21   other.                                               21      A. I got you.
     22      Q. And how did you leam how to do all of          22      Q. All right. Would you expect it to be a
     23   that?                                                23   higher standard of driving than the average
     24      A. Like I said, experience. Watching and          24   driver?
     25   learning, I mean, from my father. The older guys     25             MR. O'CONNOR: Objection.




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          that worked at Gregory over the years were very
          influential in teaching me, you know, the various
          skills needed, and I mean, there's always an
          avenue of somebody older that's been there before
                                                                1
                                                                2
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                                                                       A. I personally believe so, yeah.
                                                                       Q. Do you believe that a professional
                                                                                                              Page 21



                                                                    tractor trailer truck driver should observe,
                                                                    recognize, and assess the behavior of other
      5   you that can teach you something, if you're           5   motorists before the average driver?
      6   observant enough.                                     6              MR. O'CONNOR: Objection.
      7      Q. Is there a way to have to balance a load        7      A. Ask me that again.
      8   on a flatbed?                                         8      Q. Do you believe that a professional
      9      A. WeD, yeah.                                      9   tractor trailer truck driver should observe,
     10      Q. Yeah?                                          10   recognize, and assess the behavior of other
     11      A. You need to have it distnbuted right so        11   motorists better than the average driver?
     12   the weight's - you know, all the axles are           12              MR. O'CONNOR: Same objection.
     13   proper.                                              13      A. Yes.
     14      Q. In your experience, what kind of               14      Q. Do you believe that a professional
     15   personal characteristics makc a good truck driver    15   tractor trailer truck driver should observe,
     16   - tractor trailer truck driver?                      16   recognize, and assess -- I'm sorry, should respond
     17             MR. O'CONNOR: Objection.                   17   better than the average motorist?
     18      A. Dino, I've seen all kinds out there. I         18              MR. O'CONNOR: Objection.
     19   mean, it's just II gamut. I mean, such is life.      19      A. Yes.
     20   You see people of aD characters and quaHties and     20      Q. Do you believe that a professional
     21   quirkiness out there, so - I mean, you've got        21   tractor trailer truck driver should observe,
     22   some guys that some - some can, some can't. I        22   recognize, and assess potentially dangerous
     23   mean, you - some guys become infinite, you know,     23   driving situations better than the average driver?
                                                                               MR. O'CONNOR: Objection.



•
     24   professionals, consummate professionals about what   24
     25   they do. Some of them fledge along and try to        25      A. Yeah.



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    Wiley Lenue Hooks, Jr.                                                                                       4/26/2019
                                                                                        7 (Pages 22 to 25)



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              Q. And should he respond to those dangerous
          situations better than the average dri vee?


          know-
                    MR. O'CONNOR: Objection.
            A. You would think so, yeah. I mean, you
                                                         Page 22
                                                                    1
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                                                                    3
                                                                    4
                                                                    5
                                                                           A. That goes without -
                                                                                MR. O'CONNOR: Objection.
                                                                           A. - saying about anybody being on the
                                                                        road, wouldn't it?
                                                                           Q. I'm talking about a professional tractor
                                                                                                                        Page 24




      6      Q. Do you believe that a professional                  6   trailer truck driver.
      7   tractor trailer truck driver should observe,              7       A. We all have a responsibility out on the
      8   recognize, and assess hazardous driving conditions        8   road, I agree, but, you know, assessing something
      9   on the road better than the average driver?               9   in a split second, I mean, that's, you know -
     10              MR. O'CONNOR: Objection.                      10      Q. Well, I didn't say anything about a
     11      A. Yeah.                                              11   split second.
     12      Q. And should they respond better to those            12      A. WeD, I did.
     13   hazardons conditions better than the average             13      Q. Well try to answer my questions if
     14   driver?                                                  14   you can.
     15      A. If you consider yourself a professional,           15       A. Okay. I'm sorry.
     16   I would say yes.                                         16       Q. All right. So, do you believe that a
     17      Q. Do you believe that a professional                 17   professional tractor trailer truck driver
     18   tractor trailer truck driver should observe,             18      A. I - I will say yes because I consider
     19   recognize, and assess the potential for a                19   myself a professional and I try to - I've tried
     20   collision before the average driver?                     20   to - over the years, I've tried to maintain a
     21              MR. O'CONNOR: Objection.                      21   higher standard. I really have, so I would say
     22      A. That's about impossible, I believe. I              22   yes.
     23   mean, it's - I mean, I've been out there -- I got        23      Q. And I'm not talking about you
     24   probably close to two million miJes out there and        24   specifically.
     25   you just never know what's going to happen at any        25       A. WeD, I understand, yeah.




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          it's - it'D blow your mind.
              Q. Okay. Do you believe that a
                                                         Page 23
          given time, and you - and it can happen so fast,



          professional tractor trailer truck driver should
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                                                                          Q. But it's specifically-
                                                                          A. What do I have to gauge it to other than
                                                                                                                        Page 25



                                                                        myself and my own experience? I mean, I can't say
                                                                        what Joe Schmoe's, you know, attitude about it
      5   observe, recognize, and assess the need for               5   would be because some ofthem don't care.
      6   preventative action necessary to avoid a crash            6      Q. Do you have expectations of other
      7   better than the average driver?                           7   professional tractor trailer truck drivers?
      8             MR. O'CONNOR: Objection.                        8      A. Yes.
      9      A. Yeah.                                               9      Q. Are they a little more than you would
     10       Q. And should they respond to that                   10   expect of me on the road, the average motorist?
     11   situation better than the average driver?                11            MR. O'CONNOR: Objection.
     12              MR. O'CONNOR: Objection.                      12      A. No, every - anybody on the road bas a
     13       A. I - yeah. I would hope.                           13   responsibDity.
     14       Q. Do you believe that a professional                14      Q. No argument there.
     15   tractor trailer truck driver should observe,             15      A. Yeah.
     16   recognize, and assess the situation at an                16      Q. We all do. But do you think tractor
     17   intersection better than the average driver?             17   trailer truck drivers, the professionals, are
     18              MR. O'CONNOR: Objection.                      18   better at it?
     19     A. Better than the average driver.                     19              MR. O'CONNOR: Objection.
     20   Observation skills are important, I would say, so,       20      A. Tbey shou1d be.
     21   you know.                                                21      Q. Why?
     22       Q. But do you think a professional tractor           22      A. Because-
     23   trailer truck driver should observe that and             23            MR. O'CONNOR: Objection.




•
     24   assess it as they're coming into an intersection         24      A. - I got 80,000 pounds under me, and the
     25   better than the average driver?                          25   reaction time's a lot different than you in your



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                                                Page 26
          little Honda Accord or whoever, so that's what
          I've taken into consideration my whole career is,
          you know, and I do have two million miles under my
          belt accident froo. So, I think that qualifies
          for something.
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                                                                       Q. How far?
                                                                       A. Fifteen seconds ahead.
                                                                                                          Page 28



                                                                       Q. How do you figure out 15 seconds ahead?
                                                                       A. You don't look right in front of the
                                                                    truck. You look way out there.
      6       Q. And what can happen with an 80,OOO.pound       6      Q. Where you're going to be in 15 seconds?
      7   vehicle if the driver of that vehicle isn't           7      A. You know, yeah.
      8   careful?                                              8      Q. Okay. And depending upon how fast
      9             MR. O'CONNOR: Objection.                    9   you're going, that's a different distance all the
     10       A. Why are we here?                              10   time, right?
     11       Q. Tragedy, right? Devastation, mayhem,          11      A. Absolutely.
          right?                                               12      Q. Okay. And 15 seconds, is that the Smith
     12
     13       A. Exactly.
              Q. A lot more damage than I can potentially
                                                               13
                                                               14
                                                                    System of driving?                                   I
     14                                                                A. That's just something I've always heard
     15   cause in my Honda, as you say··                      15   -
     16             MR. O'CONNOR: Objection.                   16      Q. Are you -- I'm sorry.
     17       Q. --right?                                      17      A. I said I just take it as what I've been
     18       A. Yeah.                                         18   - that's something I've learned along the way.
     19       Q. Potentially?                                  19      Q. Are you farniliarwith the Smith System
     20       A. Potentially, yeah.                            20   of driving?
     21       Q. Do you believe that tractor trailer           21      A. I'm being honest with yon, no.
     22   trucks are more difficult to stop than regular       22      Q. Have you ever heard of it?
     23   passenger cars?                                      23      A. No. To be honest, no.
     24             MR. O'CONNOR: Objection.                   24      Q. Do you agree that a tractor trailer
     25       A. Not if you know how to drive it.              25   truck driver should not fix his or her attention




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          cars?
              A. NotreaUy.
                                                Page 27
              Q. Do you believe tractor trailer trucks
          are more difficult to steer than regular passenger
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                                                                4
                                                                       A. Yeah-
                                                                              MR. O'CONNOR: Objection.
                                                                       A. - you need to be observant of
                                                                                                          Page 29
                                                                    on anyone object for more than two seconds?




      5              MR. O'CONNOR: Objection.                   S   everything.
      6       Q. Do you believe tractor trailer trucks          6      Q. Do you agree that a tractor trailer
      7   are harder to drive than a regular passenger car?     7   truck driver should constantly be scanning
      8       A. Second nature to me. I would say no.           8   forward, sideways, and behind them?
      9       Q. Do you -- I'm sorry. Does the motoring         9      A. Yeah.
     10   public have a reasonable expectation that a          10      Q. Do you agree that a tractor trailer
     11   tractor trailer truck will stop at all red lights?   11   truck driver should keep his or her eyes moving
     12              MR. O'CONNOR: Objection.                  12   every two seconds?
     13       A. You could be riding a bicycle and expect      13      A. Yeah.
     14   that, so-                                            14      Q. And if a tractor trailer truck driver
     15       Q. How about all stop signs?                     15   has two choices, he must choose the safest choice
     16              MR. O'CONNOR: Objection.                  16   in order to prevent injury and protect others that
     17       A. Well, that's what it's - that's what          17   are using the roads?
     18   it's for.                                            18             MR. O'CONNOR: Objection.
     19       Q. Do you believe that a tractor trailer         19      A. Ask that again?
     20   truck driver must look ahead of him on the road      20      Q. If a tractor trailer truck driver has
     21   for risks in order to prevent harm and protect       21   two choices, does the tractor trailer truck driver
     22   other motorists, pedestrians, cyclists, and anyone   22   choose the safest choice when he's driving on the
     23   using the roads?                                     23   roads?
                                                                              MR. O'CONNOR: Objection.



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     24              MR. O'CONNOR: Objection.                  24
     25       A. You drive 15 seconds ahead.                   25      A. Without saying, yeah.


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          truck driver?
                    MR. O'CONNOR: Objection.
             A. Absolutely.
                                                Page 30
             Q. Do you agree that safety should always
          be the number one concern of a tractor trailer
                                                                1
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                                                                              MR. O'CONNOR: Objection.
                                                                       A. The public.
                                                                                                          Page 32
                                                                    be hurt if a tractor trailer truck isn't driven
                                                                    carefully?


                                                                        Q. Do you agree that could be other drivers
      6      Q. Do you agree that tractor trailer truck         6   in cars?
      7   drivers must follow all the rules of the road to      7      A. WeD, yeah.
      8   prevent injuries and protect people?                  8      Q. Cyclists on the roads?
      9             MR. O'CONNOR: Objection.                    9      Q. (Witness indicates affirmatively.)
     10      A. Yes.                                           10      Q. Yes?
     11      Q. Do you believe that tractor trailer            11      A. We see it every day on the news, yeah.
     12   truck drivers have a better view ofwbat is in        12   Things happen.
     13   front of them on the roads than a regular            13      Q. Pedestrians walking?
     14   passenger vehicle?                                   14      A. Well, yeah.
     15             MR. O'CONNOR: Objection.                   15      Q. Do you agree that transportation of
     16      A. WeD, based on the looking ahead, yeah.         16   goods by tractor trailer can be dangerous if not
     17      Q. And--                                          17   done safely?
     18      A. I mean--                                       18             MR. O'CONNOR: Objection.
     19      Q. -do they                                       19      A. Yeah.
     20      A. - you'd be contradicting yourself if           20      Q. Do you agree that transportation of
     21   you said no to that.                                 21   goods by tractor trailer can be dangerous if not
     22      Q. And do they have a better view because         22   done competently?
     23   they sit up higher?                                  23             MR. O'CONNOR: Objection.
     24      A. Somewhat, yeah.                                24      A. Yeah.
     25      Q. Somewhat?                                      25      Q. True or false, a motor carrier must




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                                                Page 31
            A. Somewhat. Depends on what's in front of
          you. Another truck in front of you and, you know
          -
              Q. I asked about a regular passenger
                                                                1
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                                                                        A. I don't - true.
                                                                                                          Page 33
                                                                    choose a competent driver to drive its trucks?
                                                                              MR. O'CONNOR: Objection.

                                                                        Q. True? True or false, a shipper must
      5   vehicle.                                              5   choose a competent motor carrier to transport its
      6       A. Regular, but I believe you - yeah,             6   product?
      7   obviously, you have a better viewpoint.               7             MR. SCHULER: Objection.
      B       Q. Do you agree that transportation of            8             MR. MEEHAN: Objection.
      9   goods by tractor trailer can be dangerous if it is    9             MR. O'CONNOR: Objection.
     10   not done carefully?                                  10       A. That goes without saying, doesn't it?
     11              MR. O'CONNOR: Objection.                  11       Q. SO would that be a yes or a no?
     12       A. Yeah.                                         12       A. That would be-
     13       Q. Why?                                          13       Q. A true or a false?
     14       A. Well, if you've got somebody that's           14       A. -true.
     15   inexperienced not securing a load down or not        15       Q. True? Thank you. True or false, a
     16   knowing how to handle a truck in a - going around    16   motor carrier must choose a safe driver to drive
     17   a sharp curve, they end up on their side or          17   its trucks?
     18   something comes off the trailer and - there you      18             MR. O'CONNOR: Objection.
     19   have it.                                             19       A. Yeah.
     20       Q. SO, that's something that could happen        20       Q. True or false, a sbipper must choose a
     21   to the tractor trailer itself? What else could       21   safe motor carrier to ship its product?
     22   happen?                                              22             MR. MEEHAN: Objection.
     23             MR. O'CONNOR: Objection.                   23             MR. SCHULER: Objection.




•
     24       A. Ask that again.                               24             MR. O'CONNOR: Objection.
     25       Q. Who are the potential victims that could      25       A. Yeah.


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                                                  Page 34                                                 Page 36
      1     Q. True or mIse, single tractor trailers            1            MR MEEHAN: Objection.
      2   when fully loaded weigh as much as 80,000 pounds?     2            MR SCHULER: Objection.
      3     A.     Yeah. True.                                  3            MR. O'CONNOR: Objection.
      4     Q.     Is that the maximum allowed?                 4       A. I'm not familiar with that part of it.
      5     A.     No, it's not.                                5   I really can't, you know-
      6     Q.     What's the maximum?                          6      Q. You have--
      7     A.     With a permit, you can carry heavier         7      A. That's a whole 'nother realm. That's
      8   loads.                                                8   out of my wheelhouse, as they say.
      9     Q. You need a special -                             9      Q. Howcome?
     10     A. But on the average, 80,000 is the normal        10      A. Because it is. I'm a driver. I load
     11   allowed on the road.                                 11   the truck, I take the truck to a destination, I -
     12     Q. Okay.                                           12   as far as what somebody chooses to do, I think
     13      A. Without permit, 80,000's the limit.            13   that's out of my realm.
     14      Q. Do you know why that figure is used,           14      Q. But the keyword might be "should. II How
     15   80,000, why that's the cutoff?                       15   do you feel --
     16      A. Well, if you can take a truck down the         16      A. Should.
     17   road at 92,000 pounds for purchasing a permit, I     17      Q. -- about that? A shipper-
     18   would say is just for revenue purposes because       18      A. Philosophically, yeah.
     19   what's the difference between 92,000 and 80,000      19      Q. Let me ask you again.
     20   other than buying a permit, but if the capacity of   20      A. Okay.
     21   the brakes on the truck are suitable to handle 95    21      Q. True or false, a shipper should not
     22   to 80 - I'm not going to need be misquoted here,     22   entrust its product to a motor carrier it knows or
     23   but anyhow, with a permit you can carry more, but    23   should know regularly violates federal trucking
     24   80,000's the average, so -                           24   safety regulations?
     25      Q. Is it the average or the maximum?              25      A. If 1-




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                      MR. O'CONNOR: Objection.
                                                  Page 35


             A. The maximum. I've seen - there was a
          recorded load taken across Texas was a million
          pounds,so-
                                                                1
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                                                                               MR. MEEHAN: Objection.
                                                                               MR SCHULER: Objection.
                                                                               MR O'CONNOR: Objection.
                                                                        A. IfI knowingly knew, I wouldn't-
                                                                                                          Page 37




      5      Q. Wow.                                            5   probably wouldn't choose them.
      6      A. Paid good money, I'm sure.                      6       Q. SO, is that true or false?
      7      Q. True or false, a motor carrier should           7       A. I would say true, if you have to have an
      8   not entrust a tractor trailer truck to a driver it    8   answer to that -
      9   knows or should know regularly violates federal       9       Q. Thank you.
     10   trucking safety regulations?                         10       A. -- uh-huh, okay.
     11              MR. O'CONNOR: Objection.                  11      Q. True or false, before choosing a driver
     12      A. Ask that again.                                12   to drive a tractor trailer truck:, a motor carrier
     13      Q. Sure. True or false, a motor carrier           13   should consider all available safety information
     14   should not entrust a tractor trailer truck to a      14   about the driver before allowing that driver to
     15   driver it knows or should know regularly violates    15   drive a tractor trailer truck?
     16   trucking safety regulations?                         16              MR. O'CONNOR: Objection.
     17              MR O'CONNOR: Objection.                   17       A. True.
     18      A. Well, it'd be idiotic to do it                 18      Q. True or false, before choosing a motor
     19   knowingly.                                           19   carrier, a shipper should consider all available
     20      Q. Is that true or false then?                    20   safety information about that motor carrier before
     21      A. That's true.                                   21   allowing it to transport its product?
     22      Q. Thank you. True or false, a shipper            22              MR. MEEHAN: Objection.
     23   should not entrust its product to a motor carrier    23              MR. SCHULER: Objection.
          it knows or should know regularly violates federal   24       A. I would suppose so. True.




•
     24
     25   trucking safety regulations?                         25       Q. Thank you. True or false, a motor



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          regular basis?
                     MR. O'CONNOR: Objection.
              A. I guess.
                                                Page 38
          carrier should check the driving record of a
          tractor trailer truck driver it employs on a
                                                               1
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                                                               5
                                                                   don't know.
                                                                     Q. It was
                                                                   about shippers.
                                                                                                          Page 40

                                                                                     the question was addressed

                                                                       A. About -- I have no idea if they have
                                                                   access to the SAFER system or not I would
      6       Q. Why?                                          6   suppose they do, but I don't - I can't answer
      7       A. It's part of the regulations of the           7   that
      8   FMCSA.                                               8       Q. Are you aware that the SAFER system is
      9       Q. Do you know how often?                        9   available for free online to anyone?
     10       A. I don't right off the top of my head,        10       A. No.
     11   no.                                                 11       Q. No? You'refamiliar with the SAFER
     12       Q. Okay. Do you agree that a shipper            12   system?
     13   should check the safety record of a motor carrier   13       A. Yeah, but I didn't know who had access
     14   it employs before --                                14   to it.
     15       A. I don't know the regulations --              15       Q. Okay. Have you ever gone on the SAFER
     16             MR. MEEHAN: Objection.                    16   system?
     17       A. - of anything to that, so I really - I       17       A. Well, yes, I have.
     18   really can't answer that.                           18       Q. Okay. How did you get access to it?
     19       Q. Okay. True or false, a motor carrier         19       A. Well, we had a motor carrier authority
     20   with an unsafe track record increases the risk of   20   and a DOT nmuber for Hooks Trucking and so we used
     21   serious injury or death to everyone on the roads?   21   to keep up with our own stuff.
     22             MR. O'CONNOR: Objection.                  22       Q. True or false, a shipper should check
     23             MR. MEEHAN: Objection.                    23   the safety rating of a truck company through one     I
     24       A. I don't know any stats on that myself.       24   of the Federal Motor Carrier Safety
     25       Q. Dh-huh (yes). I didn't ask you if you        25   Administration's websites before hiring a trucking




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          know stats.
             A. Well, I -- I can't--
                    MR. O'CONNOR: Objection.
                                                Page 39




             A. I don't have any information to answer
                                                               1
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                                                                    company?
                                                                            MR. MEEHAN: Objection.
                                                                            MR. SCHULER: Objection.
                                                                                                          Page 41




                                                                       A. I have no knowledge of how that works,
      5   that, to be -- I mean, honestly -                    5    to be honest with you.
      6      Q. Okay.                                          6        Q. I didn't ask you if you had knowledge of
      7      A. -so-                                           7    how it works.
      8      Q. True or false, the Department of               8        A. Okay. Ask me the question again.
      9   Transportation Federal Motor Carrier Safety          9        Q. A shipper should check the safety rating
     10   Administration's safety rating system provides      10    of a truck company through one of the Federal
     11   shippers and anyone else who wants it with          11    Motor Carrier Safety Administration's websites
     12   information about which motor carriers are safe     12    before hiring that trucking company?
     13   and which ones are unsafe?                          13              MR. SCHULER: Objection.
     14             MR. O'CONNOR: Objection.                  14              MR. MEEHAN: Objection.
     15             MR. SCHULER: Objection.                   15        A. They should. I don't know.
     16      A. That's true.                                  16        Q. Is there a greater danger on the
     17      Q. True or false, the Department of              17    highways and roads than a fully loaded tractor
     18   Transportation Federal Motor Carrier Safety         18    trailer?
     19   Administration safety rating system provides        19              MR. O'CONNOR: Objection.
     20   shippers with information about which motor         20        A. Dowhat?
     21   carriers have a record of being safe and unsafe?    21        Q. Is there a greater danger on the roads
     22      A. I don't know -                                22    and highways than a fully loaded tractor trailer
     23             MR. O'CONNOR: Objection.                  23    truck?




•
     24      A. - if they provide that to carriers or         24        A. No.
     25   not. I mean, you know, I can't answer that. I       25              MR. O'CONNOR: Objection.


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      1         A.False.                                        1       Q. Do you remember when -- what year you
      2         Q.That's false?                                 2   went back to Gregory Trucking?
      3         A.Yeah.                                         3      A. August ofl014, I do believe.
      4         Q.That one wasn't a true/talse.                 4       Q. Okay. Had you ever been fired by
      5      A. Oh.                                             5   Gregory Trucking Company?
      6      Q. It's just .-                                    6      A. No.
      7      A. WeD, no. I mean, you know, that                 7       Q. Have you ever been suspended by Gregory
      8   truck's no more dangerous than a car provided you     8   Trucking Company?
      9   got a professional driver behind the wheel, I         9      A. Not that I can recaD.
     10   would say.                                           10      Q. And when I say "ever," I'm talking about
     11      Q. A fully loaded tractor trailer is as           11   either the first time you worked for them or the
     12   dangerous as a Toyota Prius on the highways?         12   second time.
     13            MR. O'CONNOR: Objection.                    13      A. Not that I recall.
     14      A. A Prius can have an accident just as           14      Q. Okay. Ever been disciplined by Gregory
     15   much as a truck can.                                 15   Trucking Company?
     16      Q. I agree.                                       16      A. Not that I can recaD.
     17      A. A Prius can kill somebody just as much         17      Q. Do you know who hired you in 2014?
     18   as a truck can.                                      18      A. Well, I'm not reaDy sure, to be honest
     19      Q. Okay. I'm going to ask you some                19   with you. They asked me to -- anyhow, they asked
     20   questions about your employment history with         20   me to do some work for them and then I kind of
     21   Gregory Trucking.                                    21   worked into the -- being there, so - I mean,
     22      A. Gotcha.                                        22   they're like -- they're neighbors of mine and I
     23      Q. Okay? When were you first hired by             23   just -- we're just on a friendly basis, "Could you
     24   Gregory Trucking?                                    24   help me do this?" and I did and so I just kind of
     25      A. August - weD, I worked for them one            25   worked my way into the job.




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          answer that.
              Q. And I --
              A. Back in the early 2000s maybe.
                                                   Page 43
          time a long time ago. I don't -- I really can't       1
                                                                2
                                                                3
                                                                4
                                                                    application for a job?
                                                                                                          Page 45
                                                                       Q. SO, back in 2014, did you fill out an

                                                                       A. I filled out aD the proper paperwork.
                                                                       Q. Including an application?
      5       Q. And I'm going to insert for the record         5      A. 1-
      6   at this point that Mr. Cecil Gregory has joined       6             MR. O'CONNOR: Objection.
      7   us.                                                   7      A. -- believe so, yeah.
      8      A. Okay.                                           8      Q. What other kind of paperwork?
      9      Q. He's present for the deposition. Mr.            9      A. Well, they had to get a motor - the
     10   Cecil Gregory is sitting in.                         10   driving record and driver report, road test, you
     11      A. Okay.                                          11   know, all the pertinent stuff that was required.
     12      Q. You don't recall when you first started        12      Q. In 2014, did you provide Gregory
     13   with Gregory Trucking?                               13   Trucking with any documents?
     14      A. No. I really don't.                            14      A. Yeah, you're required to.
     15      Q. Uh-huh (yes).                                  15      Q. Which ones?
     16      A. I'd say 2003 maybe.                            16      A. Medical certificate and driver's -
     17      Q. Okay.                                          17   valid driver'S license.
     18      A. That was the same time my father had           18      Q. A valid driver's license?
     19   some trucks and I used to just help out whenever I   19      A. Yeah. Well, yeah.
     20   could, so I can't say.                               20      Q. One of the things you mentioned a minute
     21      Q. And I understand you worked for them,          21   ago was a driving record?
     22   Gregory Trucking, for a period and then you didn't   22      A. Uh-huh (yes).
     23   and then you went back to them? Is that fair to      23      Q. When you started working for Gregory
                                                                    Trucking in 2014 did you provide Gregory Trucking




•
     24   say?                                                 24
     25      A. Yes, sir. That's fair to say.                  25   with a copy of your driving record?



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                                               Page 46
             A. I can't recall whether I provided it
          with them or whether they got it from the State.
             Q. Uh-huh (yes). Could you tell me what
          you did at Gregory Trucking in the second phase
          when you started working for them in 2014? Tell
                                                              1
                                                              2
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                                                                   Trucking?

                                                                       A. No.
                                                                             MR. O'CONNOR: Objection.
                                                                                                          Page 48




                                                                       Q. Did you go out and visit customers and
                                                                   service customers?
                                                                                                                       !I




      6   me what you had to -- what your job                 6        A. No.
      7   responsibilities were.                              7       Q. Okay. You drove a truck?
      8      A. Hauling freight, hauling lumber.              8       A. I drove the truck.
      9      Q. Tractor trailer truck driver?                 9       Q. I asked you about the Smith System of
     10      A. Absolutely. Yes, sir.                        10    driving. Correct me ifI'm wrong, you'd never
     11      Q. Anything else?                               11    heard of that before, right?
     12      A. No.                                          12              MR. O'CONNOR: Objection.
     13      Q. Okay. Could you make your own hours?         13       A. Not that I can recall of right now,
     14      A. Well, no. I mean, Ijust -- no.               14    unless it's referred to by something other than
     15      Q. Did you have an office?                      15    the Smith System.
     16      A. WelI,yeah.                                   16       Q. Were you ever given any kind of truck
     17      Q. Where was it?                                17    fleet safety manual by Gregory Trucking?
     18      A. I know what their P.O. box is. I don't       18       A. Yes.
     19   know what the physical address is, but it's -      19       Q. Okay. And did you keep that somewhere?
     20      Q. Was it--                                     20       A. I still have it.
     21      A. - Gregory Trucking there. I think it's       21       Q. Where do you keep it?
     22   117 Lumber Drive, in remember correctly. -         22       A. Well, right now, it's in my room.
     23      Q. SO, there was an office on the property?     23       Q. In where?
     24      A. Yes.                                         24       A. It's in my possession. I just ran
     25      Q. And did you have a desk in the office?       25    across it about a week ago going through some




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              A. That was my job.
                                              Page 47
              A. No. My desk was behind the wbeeL
              Q. Very good
              Q. Did you help market the business of
                                                              1
                                                              2
                                                              3
                                                              4
                                                                  things.
                                                                     Q. Do you have it with you today?
                                                                                                          Page 49



                                                                      A. I didn't know you'd want it or I'd have
                                                                  brought it.
      5   Gregory Trucking?                                   5      Q. No. I didn't ask you to.
      6       A. No.                                          6       A. Okay.I'mjust-yeah.
      7       Q. Did you advertise the business of            7      Q. SO, you just found it recently?
      8   Gregory Trucking?                                   a       A. Yes, sir.
      9            MR. O'CONNOR: Objection.                   9      Q. And did you also find an employee manual
     10       A. I suppose driving their truck with the      10   from Gregory Trucking?
     11   name on the side of it was advertisement, so I     11       A. It might've been in there. I had a
     12   gness you could say technically yes.               12   bunch oCpaperwork together. I had the manual. I
     13       Q. Uh-huh (yes). Did you collect any money     13   had the FMCSA securement book that I was given and
     14   from customers?                                    14   a couple other items I can't recall. I just
     15       A. No.                                         15   happened -like I said, about a week or so ago,
     16       Q. Did you collect any bills?                  16   come across them, so -
     17       A. Jnst the bill of lading, signed by the      17      Q. Did Gregory Trucking ever send you for
     18   customer delivered to.                             la   any kind of tractor trailer driving education,
     19       Q. You didn't deal with the money side of      19   either the first time you worked for them or the
     20   it?                                                20   second?
     21       A. No.                                         21       A. No.
     22       Q. You didn't -- very good Did you sell        22      Q. Did Gregory Trucking ever send you to
     23   lumber?                                            23   any kind of tractor trailer tmck defensive




•
     24       A. No.                                         24   driving classes?
     25       Q. Did you sign any contracts for Gregory      25       A. No.



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                                                                                   14 (Pages 50 to 53)



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          seminars or courses?
             A. No.
             Q. Any kind of education at all?
                                                Page 50
             Q. Did Gregory Trucking ever send you to
          any kind of advanced tractor trailer truck driving
                                                                1
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                                                                                                             Page 52
                                                                    looked at, you know, source of information, you
                                                                    know, go to the pond if you need water.
                                                                       Q. Were there any other resources provided
                                                                    to you at Gregory Trucking that you could go to
                                                                    for the answer to questions you might have?
      6      A. It was more-                                    6             MR O'CONNOR: Objection.
      7            MR. O'CONNOR: Objection.                     7      A. I just -. most any of them there. I
      8      A. -in-house.                                      8   mean, there was a lot of older gentlemen there who
      9     Q. Tell me what happened in house to --             9   - plus the guys down at the shop. I mean, we had
     10      A. Well, I just had some older drivers that       l O a very, you know - there was a good source of
     11   would instruct us on things that we had asset to,    11   information there.
     12   Mr. Don was one of them. Mr. Don taught me a lot,    12      Q. When you were there -- and is it fair to
     13   80-                                                  13   say you were there between 2014 and 2016?
     14           MR MEEHAN: I'm sorry, I didn't               14      A. Yes, sir.
     15   hear what you said. Mr. who?                         15      Q. All right. When you were there for that
     16      A. Don.                                           16   period oftime between 2014 and 2016, was there a
     17           MR. MEEHAN: Bond?                            17   consensus among the drivers as to who the best
     18      A. Don.                                           18   driver was?
     19            MR. O'CONNOR: Don. First name?              19             MR. O'CONNOR: Objection.
     20      A. Yeah.                                          20      A. In my mind, I always was.
     21            MR. O'CONNOR: Is it like a first            21      Q. All right. Good.
     22   name?                                                22      A. I mean, I would hate to sound conceited,
     23      A. Barker.                                        23   but I -- other than what has happened that has
     24      Q. What was -- do you know Don's last name?       24   happened, I - like I said, two million miles
     25      A. Barker.                                        25   accidentfree.




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              Q. Barker?
              A. Yeah. Taught me a lot. It was
          informal, but it was in-house.
                                                Page 51




              Q. What, did he take you out on the road
                                                                1
                                                                2
                                                                3
                                                                4
                                                                      --
                                                                           Q. Uh-huh (yes).
                                                                                                            Page 53


                                                                           A. Couple fender-benders or whatever, but

                                                                         Q. SO, other than some of the old-timers
      5   and show you things?                                  5     and other drivers, any other resources available?
      6       A. No.                                            6     Were there any videos you could watch that Gregory
      7       Q. No? Just kind of sitting around having         7     Trucking had available?
      8   coffee?                                               8        A. I seem to think there was one. I'm - I
      9       A. No,no.                                         9     can't really say.
     10             MR. O'CONNOR: Objection.                   10        Q. Any books?
     11       A. You'd go in there - I mean, my -- just        11        A. Well, yeah, we had all the federal books
     12   I used him as a source of information. If I had      12     tbat were available.
     13   questions about things, I'd go in there and ask      13        Q. Did you ever go consult them?
     14   him. He'd been hauling lumber most all of his        14        A. Well, the ones I had in my possession.
     15   life, hadn't he? So, be was a source of              15     I mean, I did - I mean, I'm not too proud to not
     16   information. My father had been around equipment     16     look up some information if I need to know it, and
     17   all of his Ufe. Like I said, he buUt                 17     you give me a - you know, one of my things that I
     18   interstates for 39 years, and then he got into the   18     learned in the military was that they provide you
     19   trucking industry. So, my background's               19     with information. If you use their information,
     20   mechanical, being around mechanics and mechanical    20     then at least you can go back to them and say,
     21   stuff. You know, eight years on the flight deck      21     "This is what you taught me." So, if it's the
     22   of an aircraft carrier, so - so, if I had the        22     FMCSA then the -- the rules, you know, of the
     23   need to know something, I'd usually just, you        23     FMCSA, if you get stopped by a DOT officer, he




•
     24   know, find an older gentleman who knew what I        24     can't really qualm when you tell him, well, you
     25   needed to know and I'd ask him, so I've always       25     know, 395.8 says X, Y, Z, so-



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           tractor trailer truck driver?
              A. I had.
                                                  Page 54
               Q. Prior to going back to work at Gregory
           Trucking in 2014, had you worked as a professional



              Q. Let's go backwards from 2014 when you--
                                                                 1
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                                                                                                            Page 56
                                                                     Trucking at any time, the first time or the second
                                                                     time you worked for them, any crashes?
                                                                         A. None that I can reca)) right now. I'm
                                                                     not going to answer one way or the other and -
                                                                         Q. And let me say this to you at this
                                                                                                                          )




      6"      A. Uh-huh (yes).                                   6   point. If for some reason you recall an answer of
      7       Q. -- started with -- could you just move          7   a question I asked you 10 minutes ago or an hour
      8    backwards in time for about three or four years       8   ago --
      9    and tell me who you worked for?                       9       A. Okay.
     10       A. I drove for myself and for my family. I        10       Q. -- and you want to go back and revisit
     11    had my own truck at a period of time. Actually, I    11   it --
     12    had two at one point in time, so -                   12       A. Okay.
     13       Q. What was the name of your trucking             13       Q. -- you want to change an answer, you let
     14    company?                                             14   me know. Just say, "Hey, I just thought of
     15       A. Hooks Trucking was my parents, and mine        15   something" --
     16    was Red Frog Logistics.                              16       A. Okay.
     17       Q. Red Frog? You had made a statement a           17       Q. -- "about something"--
     18    few minutes ago that said two million miles with     18       A. Fair enough.
     19    no accident. Did you say --                          19       Q. -- "we talked about."
     20       A. Well--                                         20       A. Fair enough.
     21               MR. O'CONNOR: Objection.                  21       Q. SO, I understand you've been driving a
     22       A. -- fender-bender here and there, but, I        22   long time and you might not recall every time you
     23    mean, nothing major.                                 23   might've hit somebody's fender. I know it's not
     24       Q. In your time driving a tractor trailer         24   easy --
     25    truck, all the time you've driven, have you had      25             MR. O'CONNOR: Objection.



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           crashes?
                     MR. O'CONNOR: Objection.
               A. I had a couple single - vehicle
                                                 Page 55
           any Department of Transportation reportable           1
                                                                 2
                                                                 3
                                                                 4
                                                                     commit you to an exact number. Okay?
                                                                        A. WeD, I - yeah, yeah.
                                                                        Q. Okay.
                                                                                                            Page 57
                                                                        Q. -- to remember, and I'm not trying to



      5    accidents, things that happened, but they weren't     5      A. Yeah.
      6    -- it was due to another driver, so I, you know -     6      Q. How did your relationship with Gregory
      7        Q. Do you know what a Department of               7   Trucking end, your employment relationship end,
      S    Transportation reportable accident is?                8   after you were hired in 2014?
      9        A. No. I mean, if you want the particulars        9      A. WeD, the accident up in Pittsfield.
     10    and the specifics, I don't know what they qualify    10      Q. What happened after that?
     11    itas.                                                11      A. WeD, they - as oftbe accident, it was
     12        Q. Just for the times you were driving for       12   discovered that my license were not valid.
     13    Gregory Trucking, had you had any crashes?           13      Q. Okay. And what did Gregory Trucking do?
     14              MR. O'CONNOR: Objection.                   14      A. WeD, they had to let me go.
     15        A. I don't know. Reportable? I don't             15      Q. How did that happen?
     16    know.                                                16      A. WeD, I didn't have a license, so I
     17        Q. Let's forget the word "reportable"            17   wasn't very useful as a truck driver to them.
     18    because that might have a specific meaning. Any      18      Q. How did you know --
     19    crashes while at Gregory Trucking?                   19      A. I mean, that's - that was my primary
     20        A. Well, they would all be because it's -        20   job with -- or that was my job with them, was
     21    I mean, according to the DOT, the FMCSA, any time    21   driving trucks, so - me without a license don't
     22    there's an accident of any sort the DOT's to be      22   make me a truck driver anymore.
     23    called to investigate, so tbat's pretty much a       23      Q. Did someone teU you that you were no



•
     24    commercial motor vehicle requirement, so -           24   longer --
     25        Q. SO, while you were driving for Gregory        25      A. WeD, yeah.



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             Q. -- going to be a --
             A. Martha did.
                                               Page 58


             Q. That's what I'm trying to get at.
             A. Okay.
             Q. Who told you and how did they tell you?
                                                               1
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                                                               5
                                                                       A. Yeah.
                                                                                                          Page 60

                                                                       Q. -- from Gregory Trucking after the crash
                                                                   in Dalton, you had to sign some paperwork?
                                                                       A. Yeah.
                                                                       Q. And did Martha - is Martha the one that
      6      A. Martha did. She had the -- there was a         6   gave you the bad news?
      7   form there she asked me to fill out and said they    7       A. It was pretty - it was obvious to me
      8   had to sever ties with me. I said, "I                8   and - that it was going to happen. I mean, it
      9   understand. II It was amicable.                      9   wasn't no -- it wasn't bad news. It was - it was
     10      Q. And when did --                               10   just news. I mean, it was obvious.
     11      A. Like I said, they're like neighbors to        11       Q. And when did that happen? When did
     12   me, you know. I mean, I live a mile from their      12   Martha give you this news?
     13   place.                                              13       A. Well, the accident was on the 24th, I
     14      Q. You've known the Gregorys for a long          14   got back on the 26th, so Monday the 30th or
     15   time?                                               15   whatever is when I found out what had happened and
     16      A. Quite a while.                                16   - it might've been sometime that week. I don't
     17      Q. Both Cecil and Brandon?                       17   remember. It was -
     18      A. Yes.                                          18      Q. A few days after the cmsh?
     19      Q. And Martha?                                   19       A. A few days after, yes.
     20      A. And Martha.                                   20      Q. That's fmc. What did you do to support
     21      Q. And Gayle?                                    21   yourself after that?
     22      A. And Gayle.                                    22      A. I've not done a whole lot since then.
     23      Q. And everybody else?                           23      Q. Going back to when you were first hired
     24      A. And Brent and George and Don Barker,          24   in 2014, for the second time at Gregory Trucking,
     25   Eddie Campbell.                                     25   you said you filled out an application, right?




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                                               Page 59
              Q. How long have you known the Gregorys?
              A. Well, I've known tbem 20 years, easy,
          since I moved back bome. I was gone for a while,
          tben I moved back home. My dad was driving for
                                                               1
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                                                               4
                                                                      A. Yeab.
                                                                      Q. Did you get a driving test?
                                                                      A. Yeah.
                                                                      Q. Who gave you a driving test?
                                                                                                         Page 61




      5   them and then I got on there and we bought the       5      A. Brandon.
      6   trucks and so - I've known them for 20 years,        6      Q. And did you get graded or marked or --
      7   easy.                                                7      A. Well, we rode down to the planer.
      8       Q. Did you socialize with the Gregorys?          8      Q. Where's that?
      9       A. Not other than work.                          9      A. It's right on the property.
     10       Q. Just work?                                   10      Q. How--
     11       A. Yeah, just work.                             11      A. I mean, they knew my background.
     12       Q. Ever go to any weddings?                     12      Q. How far of a drive was it?
     13       A. I may bave.                                  13      A. I don't know.
     14       Q. Children's birthday parties?                 14      Q. I don't know how big the --
     15       A. No.                                          15      A. Haifa mile?
     16       Q. No?                                          16      Q. Okay. And did you have to do any
     17       A. Been to a wedding or two probably.           17   particular maneuvers for Brandon?
     18       Q. Hunting or fishing with the --               18      A. Well, not really. They knew I was
     19       A. No.                                          19   qualified. I mean, you know, I'd driven for them
     20       Q. -- any of the Gregorys?                      20   before and-
     21       A. No.                                          21      Q. Did you -- were you informed if you'd
     22       Q. Okay. You ever go bowling, participate       22   passed the driving test?
     23   in any kind of activity?                            23             MR. O'CONNOR: Objection.




•
     24       A. No.                                          24      A. You know, I'm so - I can't even - you
     25       Q. No? So, back to being let go--               25   know, I don't want to get -I'm not going to



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          pigeonhole myself into answering. It was - you
          know, they asked me to do this, I told them-
          they knew I could. It was informal. I mean, like
          I said, you know, we've known each other a long
          time. They knew my experience. I mean, so -
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                                                                    that was going to be in my benefit to have them
                                                                    done, to do that, but the local cops - I believe
                                                                    they were the Dalton police officers on site.
                                                                    Like I said, I was expecting the DOT to roD in
                                                                    there because it was required and I believe
      6       Q. But was it a driving test or was it            6   Massachusetts state law requires that the DOT come
      7   giving him a lift down to the thing a half mile       7   to a commercial vehicle accident and no one ever
      8   away?                                                 8   showed up, so it was just left upon the Dalton
      9             MR. O'CONNOR: Objection.                    9   Police Department, and I kept saying, "This needs
     10       A. You know what? Probably half a dozen of       10   to be done. II                                       ,
     11   one, six of the other.                               11      Q. How long after the crash -- strike that.
     12       Q. What does that mean?                          12   After the crash, did you ever call back to Gregory
     13       A. I mean half a dozen of one - I mean,          13   Trucking?
     14   I'm - you know, if you want to say - no, it was      14      A. WeD, yeah.
     15   not a qualified driving test. I'm not going to       15      Q. How long after the crash did you make
     16   sit here and make out like - you know, parse         16   that call?
     17   words over it.                                       17      A. I made it at the scene.
     18       Q. All right. Did you go for a drug and          18      Q. Okay. And you told them there was a
     19   alcohol test before --                               19   wreck?
     20       A. Yes-                                          20      A. I told Martha that there bad been an
     21       Q. -- being hired?                               21   accident
     22       A. -- that's required, yes.                      22      Q. Do you know whose obligation it is to
     23       Q. Are you familiar with the drug and            23   get a drug and alcohol test for you?
     24   alcohol policy of Gregory Trucking?                  24              MR. O'CONNOR: Objection.
     25       A. Zero tolerance.                               25      A. It's the patrol's, as I understand.



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                                                Page 63
              Q. Are you aware Gregory Trucking had been
          cited for violating the drug and alcohol policy?
                    MR. O'CONNOR: Objection.
              A. I'm not aware of that.
                                                                1
                                                                2
                                                                3
                                                                4
                                                                    patrol?
                                                                        A. Yes,I did.
                                                                        Q. What did they say?
                                                                                                          Page 65
                                                                        Q. And did you ever discuss it with the




      5       Q. After the crash in Dalton, did you ever        5       A. I was the one who was asking where the
      6   get a drug or alcohol test?                           6   DOT was at. I wanted them there because I wanted
      7       A. At my own request because they failed to       7   it to be recorded.
      8   do it up there in PittsfieldlDalton at the time.      s       Q. And did the Dalton police ever give you
      9   I was expecting the DOT to roll in there like they    9   a drug or alcohol test at your request?
     10   should have, but they never did, so as of Monday     10       A. Nope. They did not.
     11   by the time - because Friday, waiting for the        11       Q. Okay. Were you detained at the police
     12   truck to be released, I was under the - I was        12   station?
     13   under the impression that the DOT was there          13       A. Briefly and then taken to an
     14   assessing the truck. Don't know why the Village      14   arraignment.
     15   Towing had to - but as of Monday first thing, I      15       Q. How much time between the crash and the
     16   went and told Martha that they faDed to do that      16   arraignment, approximately?
     17   up there and that I needed to go do one, like,       17       A. Couple hours.
     18   right away so I did. I went to Piedmont Health       18       Q. Okay.
     19   and had a drug test done of my own voUtion.          19       A. Two hours.
     20      Q. After the crash, is it your                    20       Q. And were you released at the
     21   understanding that a drug test has to be             21   arraignment?
     22   perfonned?                                           22       A. I was.
     23      A. Oh, yes.                                       23       Q. Was there a bail?




•
     24             MR. O'CONNOR: Objection.                   24       A. No.
     25      A. I was the one waving the flag, because         25       Q. No? Do you know how long you have after



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                                                Page 66                                                    Page 68
      1   a crash under the regulations to get a drug test      1   wasn't the fact.
      2   or an alcohol test?                                   2       Q. Are you familiar with Gregory Trucking's
      3             MR. O'CONNOR: Objection.                    3   policy on what to do after a crash?
      4      A. It's supposed to be done immediately.           4       A. Well, yeah, we had a little crash book
      5      Q. Do you know if there's a limit of time          5   that - to get information, you know. It's more
      6   on it?                                                6   of a fender·bender kind of thing, but, you know,
      7             MR. O'CONNOR: Objection.                    7   this was a little more severe than a fender·
      8      A. It's supposed to be done immediately.           8   bender, 80-
      9   You're supposed to go from the scene to the - to      9       Q. SO, what is the process? What's the
     10   a facility and be tested.                            10   policy?
     11      Q. Where did you go after being released          11       A. Well, to notify the office and then take
     12   from court?                                          12   it from there, you know. I mean -
     13      A. I went to the Econo Lodge in Pittsfield        13       Q. Any other requirements of you, the
     14   area there.                                          14   driver involved?
     15      Q. Did Gregory Trucking assist you in             15       A. WeD, we need to document all we can
     16   finding a place to get drug or alcohol tested?       16   for, you know -- there's going to be pertinent
     17             MR. O'CONNOR: Objection.                   17   information needing to be known in the accident of
     18      A. Yeah, they had a place when I got back         18   any caliber, so, you know .-
     19   down here.                                           19       Q. What did you do after to document the
     20      Q. Back down here?                                20   crash?
     21      A. Yeah.                                          21       A. WeD, as of the time when I turned my
     22      Q. While you were still up in                     22   license in to the officer and she ran my license,
     23   Massachusetts, did Gregory Trucking do anything to   23   I was pretty concerned with the occupant of the
     24   help you get a drug or an alcohol test, set it up    24   vehicle, Mr. Forbes, and the - you know, I was -
     25   for you?                                             25   so, I was kind of engrossed in what was going on




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                                                Page 67
             A. Well, at tbe - well, I can't recalL I
          mean, at that point in time, I was pretty
          distraught after all that bad gone on and going in
          front of the Court and seeing, you know, the fact
                                                                1
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                                                                                                          Page 69
                                                                    tbere, and then all of a sudden they came back to
                                                                    her and told her my license bad been suspended and
                                                                    so the whole ball game changed. At that point,
                                                                    they put me in cuffs and put me in the back of her
      5   that the aceident bad been -- bad been, but I did     5   squad vehicle, where I remained nntil they took me
      6   know tbe reguJations and I wanted to adhere to        6   to court for an arraignment
      7   them, so, you know, for my beneirt because that       7      Q. Do you know what the Gregory Trucking
      8   was what was required.                                8   policy is to do at a crash site after a crash?
      9      Q. If after you walked out of the                  9             :MR. O'CONNOR: Objection.
     10   courthouse Gregory Trucking had instructed you to    10      A. Right now, I can't recaU, to be honest
     11   go get a drug or an alcohol test would you have      11   with you, but there is -- they have a procedure,
     12   done it?                                             12   you know.
     13      A. Yeah.                                          13      Q. Uh-huh(yes).
     14      Q. If they told you where to go and when to       14      A. Notifying the office is pretty much
     15   be there, you would've done it?                      15   paramount the first thing you do, so --
     16             :MR. O'CONNOR: Objection.                  16      Q. And you notified the office?
     17      A. I was expecting the whole time for the         17      A. Immediately.
     18   DOT to show up at any time. I mean, I - tbat was     18       Q. Did they tell you anything to do --
     19   standard SOP. That was standard operating            19      A. Well-·
     20   procedures and why Massachusetts didn't adhere to    20      Q. -- at the crash site?
     21   tbat, I don't know. I was - I mean, really. I        21      A. - after that, my phone was taken from
     22   was expecting it at any time. I mean, tbat was on    22   me and I couldn't get in touch with them until
     23   a Wednesday and as of Friday hadn't heard anything   23   later that day and then, you know, I was involved




•
     24   from tbem and was under the impression that they     24   in the - you know, involved in the aftermath, you
     25   were there Friday, bnt come to imd out that          25   know, it's pretty --


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    Wiley Lenue Hooks              I   Jr.                                                            4/26/2019
                                                                              19 (Pages 70 to 73)



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          Trucking --
                                                Page 70
              Q. But before your phone was taken away,
          did Gregory -- anybody at the office at Gregory

              A. It had just happened and I had notified
          Martha and then I mean, within a short period
                                                               1
                                                               2
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                                                                       Q. Okay.

                                                                   it with you, Mr. Dino.
                                                                                                          Page 72


                                                                       A. I don't have it here so I can go through

                                                                       Q. Do you think it was in the truck?
                                                                       A. I know it was.
      6   of time, I was detained and put in cutTs, so -       6       Q. Okay. How does Gregory Trucking keep in
      7   there wasn't any time for them to respond back to    7   touch with you while you're out on the road
      8   me or if they did, you know, it was on my phone      8   driving the truck?
      9   and I didn't have my phone with me because it had    9       A. Via cell phone.
     10   been taken.                                         10       Q. Was it a company cell phone?
     11       Q. While you were talking to the office         11       A. No, it was mine.
     12   after the crash, did the police take the phone      12       Q. It was your own? Did you have to pay
     13   away from you while you were in the middle --       13   for that yourself?
     14      A. Well, I mean not took it away from me,        14       A. I did. It's a common thing nowadays.
     15   but once I had, you know -- I don't even know how   15       Q. And was there a requirement of when you
     16   that went down to be honest with you.               16   had to call in or did you have to call in at all?
     17       Q. SO, after you reported the crash to the      17       A. Well, when we were at - when we were
     18   office -- and is it Martha you spoke to?            18   able other than driving. I didn't call - I never
     19      A. I did.                                        19   was on my phone while I was on the road. So
     20      Q. Did Martha give you any instructions on       20   usually at the end of the day or whenever I
     21   what to do -- what she wanted you to do at the      21   stopped somewhere, I would take the time to call
     22   crash scene?                                        22   in and let them know where I was at and check in,
     23      A. I don't remember.                             23   tell them I delivered their load and, you know, in
     24      Q. Okay.                                         24   general and such.
     25      A. Don't remember.                               25       Q. When you were driving for Gregory




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                                                Page 71
             Q. Do you keep a copy of any kind of
          instructions on what to do after a crash in the
          truck?
             A. There was something in there, but I
                                                               1
                                                               2
                                                               3
                                                               4
                                                                      A. WeD. yeah, yeah, yeah.
                                                                                                          Page 73
                                                                   Trucking after 2014, was there any kind of blue
                                                                   tooth or hands-free setup in any of the trucks?

                                                                      Q. Was there a blue tooth or hands-free
      5   can't recall what it is. That's been a couple of     5   setup in the truck that was involved in the crash?
      6   years ago.                                           6      A. Well, I had my own blue tooth. You
      7      Q. When you say "something," what kind of         7   know, it's common to have your own.
      8                                                        8      Q. You had your own?
      9      A. There was -                                    9      A. Well, yeah, for sanitation reasons, I
     10             MR. O'CONNOR: Objection.                  10   wore my own --
     11      A. -- a procedure handout or sometbing.          11      Q. Whyfor
     12      Q. Okay.                                         12      A. - but I didn't have it on because I
     13      A. You know, there was something in there.       13   don't get on the phone while I'm driving. I mean,
     14      Q. Did you use it at all?                        14   I have it in case I need it, but I do not get on
     15      A. Well, I had implemented the first step,       15   the phone while I'm driving.
     16   calling the office, and then, you know, the first   16      Q. Even--
     17   responders were there and so I was dealing with     17      A. Matter of fact, the last time I had been
     18   that. I was dealing with the accident as best as    18   on my phone was the night before when I had
     19   I knew how because I'd never -                      19   checked in with Martha, and so for the next 12
     20      Q. If you weren't detained by the police         20   hours I hadn't been on the phone at all. I don't
     21   and put in a car, what would you have done?         21   like them.
     22             MR. O'CONNOR: Objection.                  22      Q. You don't even use it hands-free
     23      A. Followed the procedure.                       23      A. No.




•
     24      Q. Whichis?                                      24      Q. -- while you're driving?
     25      A. I don't know.                                 25      A. No.



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    Wiley Lenue Hooks, Jr.                                                                          4/26/2019
                                                                             20 (Pages 74 to 77)



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             Q. Okay.
             A. In can pull into -
             Q. Good.
             A. -- rest areas -
             Q. Thank you. I appreciate that.
                                                Page 74
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                                                              4
                                                              5
                                                                  departure warning device in it?
                                                                                                        Page 76
                                                                  truck for Gregory Trucking that had a lane

                                                                      A. I just kept tbe truck in the lane.
                                                                      Q. I appreciate that, too, but
                                                                      A. Well, I don't know. I - not tbat I'm
      6      A. Yeah.                                         6   awareof--
      7      Q. That's -- I wish more people did. Are         7       Q. And being a professional --
      B   you aware that some trucking companies have         8       A. - to be honest -
      9   installed speed governing devices to keep the       9       Q. -- truck driver, you'd be aware ofit,
     10   tractor trailer trucks from going over a certain   10   wouldn't you?
     11   speed?                                             11              MR. O'CONNOR: Objection.
     12      A. I've heard that.                             12       A. Well, I don't even know bow they
     13      Q. Does Gregory Trucking use any of that        13   operate, to be honest witb you. I mean, I
     14   technology?                                        14   understand tbe concept and the tecbnology behind
     15      A. I think some of them may be governed.        15   it, but I - I don't know how you would ten -- I
     16   I'm not sure.                                      16   guess the wbeel maybe vibrates or sometbing. I
     17      Q. Did you ever drive one that was?             17   don't know.
     1B      A. I don't know if it was just a slow truck     18       Q. Are you aware that some trucking
     19   or if it had a governor on it. Can't be honest.    19   companies have installed blind spot detection
     20      Q. Well, you're a professional truck            20   equipment in their tractor trailer trucks?
     21   driver. You know -                                 21       A. I've beard ofit.
     22      A. 1-.                                          22       Q. Did you ever drive a Gregory Trucking
     23      Q. -- ifit's governed arnot, don't you?         23   tractor trailer with blind spot detection
     24              MR. O'CONNOR: Objection.                24   equipment in it?
     25      A. Not necessarily. Some trucks just got        25       A. No, not tbat I know of.




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                     MR.. O'CONNOR: Objection.
                                                Page 75
          more oomph tban the other ones do. I mean -
             Q. But what's a governor do on it?
             A. Well, with the ACMs on trucks, you can
                                                              1
                                                              2
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                                                                  governor for the speed --
                                                                      A. Vh-huh (yes).
                                                                                                       Page 77
                                                                      Q. Do those things we just talked about,
                                                                  the blind spot detection, the lane departure, the


      5   regulate how - what their top speed is.             5       Q. -- do those things make driving safer?
      6      Q. And did you ever drive one for Gregory        6             MR O'CONNOR: Objection.
      7   Trucking that had such a regulator on it?           7       A. My personal opinion, no.
      B              MR O'CONNOR: Objection.                  8       Q. No?
      9      A. To be honest with you, I don't know. I        9       A. If you need that, you don't need to be
     10   just drove the speed limit.                        10   in the truck.
     11      Q. All right. Are you aware that some           11       Q. They say that's coming pretty soon,
     12   trucking companies have installed forward-facing   12   isn't it? Have you heard about driverless trucks?
     13   cameras in their traffic -- tractor trailer --     13       A. I hope to be on a island somewhere and
     14      A. I'm aware-                                   14   possibly not having to deal with it.
     15      Q. -- trucks?                                   15       Q. All right. We're going to give her a
     16      A. - ofthat. Yeah.                              16   break for a second.
     17      Q. Okay. Did you ever drive a Gregory           17       A. Okay.
     18   tractor trailer truck that had such a forward-     IB             (DEPOSITION EXHIBIT
     19   facing camera?                                     19             NUMBER ONE WAS MARKED
     20      A. No.                                          20             FOR IDENTIFICATION)                       4
     21      Q. Are you aware that some truck companies      21       Q. SO, Mr. Hooks --
     22   have installed lane departure warning devices in   22       A. Yes, sir.
     23   the tractor trailer trucks?                        23       Q. I'm sorry. Let's wait until she's got



•
     24      A. I've heard of that.                          24   her oxygen on.
     25      Q. Did you ever drive a tractor trailer         25       A. Okay.



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    Wiley Lenue Hooks, Jr.                                                                             4/26/2019
                                                                               21 (Pages 78 to 81)



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                                                Page 78                                                   Page 80
      1       Q. There we go. So, Mr. Hooks, throughout         1      Q. Did you get a new one every year?
      2   the deposition I'm going to be showing you            2      A. I got all the updates, plus it was
      3   documents.                                            3   available online. Well, actually, to be honest,
      4       A. Yes, sir.                                      4   after a few years, I just went online because
      5       Q. First, we give them to her and she puts        5   that's where it was available, so -
      6   a sticker on it. Do you see that sticker?             6      Q. And it's free?
      7       A. Yes, sir.                                      7      A. And it's free. Yes. That's my price.
      8       Q. It says, "Exhibit I," I assume?                8      Q. Will you agree with me that the
      9       A. Gotcha.                                        9   regulations within the Federal Motor Carrier
     10       Q. And very often, after we've got a few of      10   Safety Administration manual, Exhibit One, those
     11   these hanging around it's helpful to refer to them   11   are the minimum requirements required?
     12   by that sticker number.                              12             MR. O'CONNOR: Objection.
     13      A. Absolutely.                                    13      A. The minimums? I - I don't know that to
     14       Q. All right? Have you ever seen Exhibit         14   be true.
     15   Number One?                                          15      Q. Okay. Would you agree with me that as a
     16      A. Well, yeah.                                    16   driver you have a duty to comply with the
     17       Q. What is it?                                   17   regulations within this manual?
     18      A. It's the Federal Motor Carrier Safety          18             MR. O'CONNOR: Objection.
     19   Administration Compliance Manual.                    19      A. As best as possible.
     20      Q. And this is just the cover page, right?        20      Q. Do any of the regulations say as best as
     21      A. Yes, sir. It's not the full volume, I          21   possible, do you know?
     22   would take it                                        22             MR. O'CONNOR: Objection.
     23      Q. Pretty thick tome, isn't it?                   23      A. Well, no, but they - no.
     24      A. Wouldn't be a lot ofinformation if this        24      Q. SO, do you agree with me that as a
     25   was it, so - I'm sure it's about that big            25   professional tractor trailer truck driver you're




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          (witness indicates), so -

          kind of thick?
              A. Yeah, yeah.
                                                Page 79

              Q. Phonebook, New York, Manhattan phonebook
                                                                1
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                                                                4
                                                                    Manual?
                                                                              MR. O'CONNOR: Objection.
                                                                                                          Page 81
                                                                    required to comply with these regulations that are
                                                                    in the Federal Motor Carrier Safety Compliance


      5       Q. All right. And you've seen this before?        5       A. Ask that again?
      6       A. Oh, yeah.                                      6       Q. As a professional tractor trailer truck
      7       Q. All right.                                     7   driver, are you required to comply with the
      8       A. Yeah.                                          8   Federal Motor Carrier Safety Administration
      9       Q. And one ofthese were in existence at           9   Compliance Manual?
     10   Gregory Trucking if you -                            10       A. Yeah, you're required to, yes.
     11       A. Oh,yeah.                                      11       Q. Okay. Is a motor carrier like Gregory
     12       Q. -- needed?                                    12   Trucking required to comply with the regulations
     13       A. Yeah.                                         13   in the Federal Motor Carrier Safety Administration
     14       Q. Okay. And did they keep them current?         14   Compliance Manual?
     15       A. Well, they send updates. Yes, I imagine       15             MR. O'CONNOR: Objection.
     16   they did, yeah.                                      16       A. I would suppose they would be, yeah.
     17       Q. And do you know if they were current if       17       Q. Is safety important at Gregory Trucking?
     18   -- did you ever go to use it while you were at       18             MR. O'CONNOR: Objection.
     19   Gregory Trucking?                                    19       Q. Was it important when you worked there?
     20       A. Theirs, no, but I had one at home. I          20       A. Yeah.
     21   had my own copy.                                     21             MR. O'CONNOR: Objection.
     22       Q. Did you keep yours updated?                   22       Q. On a scale of 1 to 10, how important was
     23       A. I do.                                         23   it?
                                                                              MR. O'CONNOR: Objection.



•
     24       Q. Did you get a new --                          24
     25       A. J. J. Keller.                                 25       A. It was important. Ten.



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    Wiley Lenue Hooks                   I   Jr.                                                              4/26/2019
                                                                                    22 (Pages 82 to 85)



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                                                    Page 82                                                      Page 84
      1           Q. Are you aware of any tractor trailer           1   take within eight hours and, you know, of course
      2       truck drivers that have been fired at Gregory         2   when they first implement something like that
      3       Trucking when you were there?                         3   there's a -- takes a little time to get used to
      4           A. No.                                            4   it, so she's like, "You need to start doing your
      5           Q. Did Gregory Trucking ever audit your log       5   30-minute break at eight hours" or what - you
      6       books while you were driving for them after 2014?     6   know, she was - she knew what she was - Martha
      7           A. Weekly.                                        7   knew what she was doing, and so she'd correct us,
      8           Q. What would happen in an audit with your        B   you know, and say, "Okay. Well, I need to be
      9       logbooks?                                             9   better about," you know - pay attention a little
     10           A. They would check to make sure they were       10   better.
     11       compliant.                                           11       Q. Is that called hours of service?
     12           Q. Would you sit down with them and go over      12       A. Hours of service, yeah.
     13       them together or would you just --                   13       Q. And is pretty strict requirements for
     14           A. If necessary.                                 14   that?
     15           Q. Did that ever happen?                         15       A. Yeah, you - yeah. I mean, you just got
     16           A. Yeah. Martha was a stickler for that.         16   to take 10 hours off every 24 hours. You can't
     17           Q. Did you sit down with her and go through      17   drive and/or work over 14 hours. Every eight
     18       it together?                                         18   hours, you've got to take a 30-minute break. I
     19           A. Yeah.                                         19   mean, I still remember that stuff because it was
     20           Q. Were there ever any discrepancies found       20   kind of drove into you.
     21       in your log books?                                   21       Q. While you were at Gregory Trucking after
     22           A. Yeah.                                         22   2014 did Gregory Trucking conduct safety meetings?
     23           Q. Like what?                                    23       A. Yeah.
     24           A. Perfection is not my best suit                24       Q. How often?
     25           Q. Like what?                                    25       A. I think they were monthly or quarterly.




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                                                    Page 83
                 A. Occasionally, I mean, there'd be -- I
              mean there's something in there. I mean, it's a
              manual log book and, you know -- I mean, I can't
              think of anything in particular. Mine were - I
                                                                    1
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                                                                        now.
                                                                                                                 Page 85
                                                                        I don't know. I forget. It's been a couple years

                                                                           Q. Did somebody run those safety meetings?
                                                                           A. Martha.
      5       never had a lot of problems with my log books, but    5      Q. What would happen at the safety
      6       upon occasion - that was ber job, was to look         6   meetings?
      7       them over and get back with us about, you know,       7      A. Usually disseminate some information
      8       this ain't right, this ain't right, I need this       8   having to do with what was required of the FMCSA.
      9       mileage, so, you know, that was part of her job to    9   I mean, there'd always be a different topic,
     10       check us out.                                        10   securement, hours of scrvice, you know. There
     11          Q. In your opinion, did Martha know what          11   were several different areas they would, you know
     12       she was doing -                                      12
     13          A. Oh,yes.                                        13       Q. Were minutes kept? Did somebody keep a
     14          Q. -- in auditing --                              14   record ofthose?
     15                 MR O'CONNOR: Objection.                    15       A.I-
     16          Q. -- your log book?                              16            M:R. O'CONNOR: Objection.
     17          A. Yes.                                           17       A. - don't know.
     18          Q. Martha understood the rules and the            18       Q. Was attendance kept? Did you ever sign
     19       regulations?                                         19   in?
     20          A. WeD, yeah.                                     20       A. I think so. I mean -- yeah, you had to
     21          Q. And can you think of any discrepancies         21   sign in.
     22       that were discovered in any of your audits for       22       Q. Do you remember any of the topics that
     23       your log books?                                      23   were discussed at any safety --




•
     24          A. I mean, they're - yeah, I mean they're         24       A. Securement was a big one.
     25       - they came out with a 30-minute break you had to    25       Q. Tell me a little bit --
          ~




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    Wiley Lenue Hooks, Jr.                                                                             4/26/2019
                                                                               23 (Pages 86 to 89)



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                                                Page 86
             A. Securing tbe load to tbe traDer. I
          mean, you can't go down the road without it
          secured to the traDer, so that was pretty much
          one of them that I remember right off the bat.
             Q. Anything else?
                                                                1
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                                                                5
                                                                    top.
                                                                                                           Page 88


                                                                       Q. Okay. Did you ever get a copy ofthis?
                                                                       A. I'm going to say not necessarily in this
                                                                    format, but -
                                                                       Q. Did you get it in some other format?
      6      A. My hours of service. Those two come             6      A. Well, I mean it was printed but as a
      7   into my mind right off the bat, so -                  7   different -- probably a different layout than
      8      Q. Have you heard of the American Trucking         8   this.
      9   Association?                                          9      Q. Yeah? Do you remember when you got it?
     10      A. I have.                                        10      A. It was probably when they hired me
     11      Q. Would you agree with them that as of           11   because that's one ofthe requirements.
     12   2014 there was a truck driver shortage?              12      Q. And that would've been in 2014, when you
     13      A. I've heard that.                               13   got hired?
     14      Q. Do you believe that?                           14      A. Probably, yeah. Well, yeah.
     15      A. I -- based on the recruitment out there        15      Q. Who--
     16   now, I would say yeah, I guess.                      16      A. Tbat was part of the biring process.
     17            (DEPOSITION EXHIBIT                         17      Q. Do you know who would've given it to
     18            NUMBER TWO WAS MARKED                       18   you?
     19            FOR IDENTIFICATION)                         19      A. Martha would've.
     20      Q. Mr. Hooks?                                     20      Q. All right. Do you know if you signed
     21      A. Yes, sir.                                      21   anything acknowledging that you received it?
     22      Q. Take a look at what's been marked as           22      A. No, I don't know that to be a fact or
     23   Exhibit Number Two.                                  23   not.
     24      A. Okay.                                          24      Q. And after you got it, did you read it?
     25      Q. Please look at it thoroughly from              25      A. I probably went over it, yeah. I mean,




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          you're done, please.
                                                Page 87
          beginning to end and let me know if you -- when

             A. (Witness reviews document.) I'm going
          to let you know that I'm on medication that causes
                                                                1
                                                                2
                                                                3
                                                                4
                                                                                                           Page 89
                                                                    tbis looks like familiar stuff, the big test. The
                                                                    pre-trip inspection stuff I was familiar witb, the
                                                                    - I tbink if there would've been something tbat I
                                                                    hadn't been knowledgeable on might probably
      5   my vision to be blurry, so tbis is -- I mean, I       5   would've read it, but-
      6   can basically make it out, so -                       6      Q. Was there a copy of it kept in the
      7       Q. I'll ten you what. For a second, if            7   trucks?
      8   you want to not read. I don't intend to ask you       8      A. In the truck? I don't know.
      9   specific questions --                                 9      Q. Was it available in the office if you
     10      A. Well, I mean -                                 10   needed access to it?
     11       Q. -- about what's in it.                        11      A. They had riles in the office, yeah,
     12      A. -- oh, you're not going to test me,            12   probably, yeah.
     13   right?                                               13      Q. Do you know if this specific fleet
     14       Q. Not going to test you                         14   safety program was available?
     15      A. Okay.                                          15      A. Well, the one at tbe time was, I'm sure,
     16       Q. -- but I'm going to ask you if you've         16   yeah.
     17   ever seen it before kind of a thing, and I don't     17      Q. Okay.
     18   want you to stress your eyes if you're having        18      A. Because that's where they banded it to
     19   trouble.                                             19   me was in the office.
     20      A. Oh, no. I'm not going to, but okay, I'm        20            (DEPOSITION EXHIBIT
     21   with you. Okay. I know what this is, yeah.           21            NUMBER THREE WAS MARKED
     22      Q. Okay. What is it?                              22            FOR IDENTIFICATION)
     23      A. It's a neet safety program.                    23      Q. Mr. Hooks, will you take a look at




•
     24      Q. For who?                                       24   Exhibit Number Three and -- again, I don't intend
     25      A. Well, it says Gregory Trucking up at the       25   to ask you any questions out of it, but --



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    Wiley Lenue Hooks, Jr.                                                                            4/26/2019
                                                                               24 (Pages 90 to 93)



•     1
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            A. Okay.

          me know when you're done.
              A. (Witness reviews exhibit.) Okay.
              Q. What is Exhibit Number Three?
                                                 Page 90


              Q. -- if you just take a look at it and let
                                                                1
                                                                2
                                                                3
                                                                4
                                                                5
                                                                    packet for Gregory Trucking.
                                                                                                          Page 92

                                                                       Q. And did you ever get a copy of this when
                                                                    you started working for Gregory Trucking in 2014?
                                                                       A. I don't think it was this many pages,
                                                                    but - when we had the drug test done there was
      6       A. It's the employee handbook-                    6   some information given out.
      7       Q. All right. And did --                          7      Q. Okay. And does it look like Exhibit
      8       A. - for Gregory Trucking.                        8   Number Four, to your memory?
      9       Q. Thank you. Did you ever get a copy of          9      A. It was drug and alcohol information.
     10   that when you got rehired or hired in 2014?          10   Yeah.
     11       A. Yes, I did.                                   11      Q. But it was different than Exhibit Number
     12       Q. Do you actually remember getting a copy       12   Four?
     13   of it?                                               13      A. Well, yeah.
     14      A. Yeab.                                          14      Q. Okay. What's your understanding of the
     15       Q. Okay.                                         15   Gregory Trucking drug and alcohol policy when you
     16      A. I mean, I gave the - yeah. Yeah.               16   got hired in 2014?
     17       Q. Who would've given you a copy of that?        17      A. Zero tolerance, I beHeve.
     18      A. Martha.                                        18      Q. All right.
     19       Q. Okay. Did you read it when you got it?        19      A. It's what I understand.
     20      A. I probably went tbrough it.                    20      Q. Did Gregory Trucking offer employees
     21       Q. And was a copy orit available --              21   with assistance with drug or alcohol problems?
     22      A. I mean, it wasn't this exact -- Hire I         22      A. I don't know.
     23   said, the -- you know, this ain't the exact one I    23             MR. O'CONNOR: Objection.
     24   had, but I mean this is - looks like it's been       24      A. I didn't - it wasn't an issue I had to
     25   redone, but there was a copy of such and such, the   25   cover with them.




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                                                Page 91
          rules, the dress codes, and all that, yeah.
             Q. Was a copy of the Gregory Trucking
          employee handbook available in the office at
          Gregory Trucking?
                                                                1
                                                                2
                                                                3
                                                                4
                                                                                                          Page 93
                                                                       Q. Did you ever ask anybody at Gregory
                                                                    Trucking for any kind of help with drug or alcohol
                                                                    issues?
                                                                       A. No (witness indicates negatively).
      5      A. I have no knowledge of that.                    5      Q. Did anybody at Gregory Trucking ever
      6      Q. Okay. If you needed access to it, how           6   come to you and ask you if you needed help with
      7   would you do that?                                    7   drug or alcohol issues?
      8      A. Ask Martha.                                     8            MR. O'CONNOR: Objection.
      9      Q. She'd get it for you?                           9      A. That just never was an issue.
     10      A. She would.                                     10      Q. Well, correct me ifI'm wrong. You
     11      Q. Or she'd have the answer to your               11   stopped drinking because it was an issue, right?
     12   question?                                            12      A. Yeah. Yeah, I woke up one day, I said,
     13      A. Martha pretty much provided us with the        13   "I need to quit drinking," and I quit. I mean,
     14   things we needed. She was very proficient.           14   that was self-imposed, so -
     15      Q. All right.                                     15      Q. Did you ever drink with Cecil or Brandon
     16      A. Very proficient.                               16   Gregory?
     17            (DEPOSITION EXHIBIT                         17      A. Nope.
     18            NUMBER FOUR WAS MARKED                      18      Q. Did they know you drank?
     19            FOR IDENTIFICATION)                         19      A. I don't know.
     20      Q. Mr. Hooks, I want you to take a look at        20            MR. O'CONNOR: Objection.
     21   Exhibit Number Four and let me know when you're      21      Q. Okay. Do you remember when you first
     22   done looking at that.                                22   got your CDL license?
     23      A. (Witness reviews exhibit.) Okay.               23      A. Yeah.




•
     24      Q. And what is Exhibit Number Four?               24      Q. When was it?
     25      A. It's a drug and alcohol information            25      A. '03, I believe.


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    Wiley Lenue Hooks, Jr.                                                                             4/26/2019
                                                                                25 (Pages 94 to 97)



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                  MR. MEEHAN: I'm sony?
             A. '03.
                                                  Page 94


              Q. Did you go to one of those driving
          schools to get it?
              A. No, sir (witness indicates negatively).
                                                                1
                                                                :2
                                                                3
                                                                4
                                                                5
                                                                     know the exact date.
                                                                        Q. Okay. How many times had it been
                                                                     suspended?
                                                                        A. A couple.
                                                                        Q. And do you recall for what?
                                                                                                           Page 96




      6       Q. How did you get it?                            6       A. For drugs.
      7       A. I went and took the driving test, I got        7       Q. And when you say "drugs," would that
      8   a permit, and 30 days later I went down and got       8    have been discovered as a drug test?
      9   the - my driver's license because I passed the        9       A. No.
     10   test. I've been around equipment aU my life, so      10       Q. No?
     11   it was second nature to me.                          11       A. No - yeah, it was. It was (witness
     12       Q. SO, tell me about the testing process         12    indicates affirmatively).
     13   when you took it to get your CDL. Was there a        13       Q. Would those have been drug -- some kind
     14   written portion and then a --                        14    of drug test you had to take because of a result
     15       A. Well, it was the North Carolina State         15    ofacrash?
     16   Department of Motor Vehicle-required test that I     16       A. Nope. Just a random drug test.
     17   passed, so I passed the State's requirements.        17       Q. SO, truck drivers are subject to random
     18       Q. Okay. So, I don't know what they are.         18    drug testing?
     19   So, is it -- is there a written portion to it?       19       A. Yes, they are.
     20       A. Yes, there is.                                20       Q. And you were selected at random -
     21       Q. Okay. And did you pass that?                  21       A. Yes,Iwas.
     22       A. Yes, I did (witness indicates                 22       Q. -- and you tested positive?
     23   affirmatively).                                      23       A. Yes, I did.
     24       Q. You took it, you -- did you pass it the       24       Q. And how many times did that happen?
     25   first time?                                          25       A. Couple of times.




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              A. Yes, I did (witness indicates
          affirmatively).
                                                  Page 95


              Q. Excellent. And then after you passed
          the written portion, do you take an actual driving
                                                                1
                                                                2
                                                                3
                                                                4
                                                                     the first time, what happened?
                                                                                                           Page 97
                                                                        Q. And as a result of a positive drug test,

                                                                        A. I had a get an assessment. I had a 30-
                                                                     day civil suspension and then bad to reapply and
      5   test?                                                 5    pay a rme.
      6       A. Yes, you do.                                   6       Q. Okay. And how about the second time?
      7       Q. Okay. So, it's not much different than         7       A. Same thing.
      8   a regular car license, other than it's a--            8       Q. Do you have any sense of when those
      9       A. Other than it's a tractor.                     9    might've occurred, approximately? I'm not looking
     10       Q. -- bigger vehicle?                            10    for months and -
     11       A. Yes, sir.                                     11       A. '10, '11, '12.
     12       Q. And did you pass your driving portion of      12       Q. Are you saying 2010?
     13   the test?                                            13       A. - '10, 2011. 2012, somewhere in there.
     14       A. Yes, I did (witness indicates                 14       Q. And did they both happen within a period
     15   affirmatively).                                      15    ofa--
     16       Q. Okay. And you were able to get a CDL          16       A. A year, I believe. I don't know.
     17   license after you passed the driving portion?        17       Q. Okay.
     18       A. That afternoon, I went down and got a         18       A. A year apart maybe.
     19   CDL.                                                 19       Q. Okay. Has your CDL ever been suspended
     20      Q. Okay. Had your CDL ever been suspended         20    for anything else?
     21   up until before the crash?                           21                MR. O'CONNOR: Objection.
     22      A. Yes, they had (witness indicates               22       A. Not that I can recan of right now.
     23   affirmatively).                                      23       Q. Okay. Now, I understand it was




•
     24      Q. When and for what?                             24    suspended on the date of the crash?
     25      A. I don't know when the when is. I don't         25       A. Yes, it was•



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    Wiley Lenue Hooks, Jr.                                                                             4/26/2019
                                                                              26 (Pages 98 to 101)



•
                                                Page 98                                                  Page 100
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             Q. And do you know why?
             A. I still haven't really figured that out
          because the day I renewed my license they had -
                                                               1
                                                               2
                                                               3
                                                                     what had happened between the period of February
                                                                     the 12th of 2016 when I renewed my Bcense and as
                                                                     of August the 24th of2016 when the accident
                                                                                                                         I
      4   anyhow, they sent me my license anyhow. I didn't     4     happened that I had no knowledge of my Bcense
      5   know it was suspended. The State of North            5     being suspended.
      6   Carolina sent them to me, so -                       6         Q. All right. So, now you say you know
      7      Q. But after the crash you learned it was         7     why. Tell me why it was suspended at the time of
      8   suspended?                                           8     the crash.
      9      A. I did, that day.                               9         A. They said they had imposed a 30-day
     10      Q. Have you ever found out why it was            10     revocation on February the 19th, that they said
     11   suspended?                                          11     they had notified me of which I never got notice
     12      A. Honestly, no. I mean, I have an idea,         12     of and --
     13   but-                                                13         Q. Who's they?
     14      Q. You never went to the authorities and         14         A. The DMV is - North CaroOna Department
     15   asked why?                                          15     of Motor Vehicles.
     16      A. Well, after that, I got taken up to           16         Q. We talked about prior crashes involving
     17   Massachusetts where I was incarcerated for 15       17     tractor trailer trucks. Have you ever been
     18   months and since then, which has been just over a   18     involved in a car crash with a passenger vehicle?
     19   year ago, I have been pretty much indigent and      19        A. Yeah, probably. I mean, not that I can
     20   trying to recover from this situation has been an   20     recall right now.
     21   ordeal, so - and I mean indigent to the             21         Q. Just for verification, before I hand you
     22   def'mition of indigent.                             22     this next document, is your full name Wiley Lenue
     23      Q. Does the registry of motor vehicles in        23     Hooks,Jr.?
     24   North Carolina charge you money to go in and ask    24        A. Vb-huh (yes).
     25   them questions?                                     25        Q. Could you say yes or no?




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             A. No.
                    MR. O'CONNOR: Objection.
                                               Page 99



             Q. All right. You gave the impression that
          you were sent back up to Massachusetts and
                                                               1
                                                               2
                                                               3
                                                               4
                                                                        A.
                                                                        Q.
                                                                        A.
                                                                        Q.
                                                                             Yes, sir. It is.
                                                                             Uh-huhs (yes) -
                                                                             I know you asked me-
                                                                             -- are difficolt to --
                                                                                                         Page 101




      5   incarcerated, but you were actually in North         5        A- That's a - it's a southern thing.
      6   Carolina for quite some time after the crash,        6        Q. -- transcnbe.
      7   weren't you?                                         7        A. Okay.
      8      A. Yeah, they -                                   8        Q. And is your address 125 Mann Road,
      9             MR. O'CONNOR: Objection.                   9     Harmony, North Carolina?
     10      A- - released me up there, yeah, as we           10        A- It was.
     11   already discussed.                                  11        Q. It was? Is that your current address?
     12      Q. And how long were you in North Carolina       12        A. That's my mailing address as of right
     13   before you went back up to --                       13     now, yes, sir.
     14      A- From August to January 5th of2017.            14 .      Q. That's your official--
     15      Q. That's about five months, right?              15        A. Yes, sir. Yes, sir.
     16      A- Yes, it WaS.                                  16        Q. - legal mailing address?
     17      Q. SO, you had been notified after the           17        A. Yes, sir.
     18   crash that you didn't have a COL or it had been     18        Q. And it's been that way for how long?
     19   suspended and during those five --                  19        A. Since I got out. I had my own place
     20      A. The day of the crash, yes, sir.               20     prior to that, but - but I use - that's - that
     21      Q. -- and during those five months that you      21     was our office and I used it as a mailing address
     22   were in North Carolina you never asked anybody      22     for a long time now.
     23   why?                                                23        Q. Can you give me a sense of how long 125




•
     24             MR. O'CONNOR: Objection.                  24     Mann Road, Harmony, North Carolina has been your
     25      A- No, I knew why, but it was a matter of        25     legal mailing address?



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•
                                               Page 102                                              Page 104
      1      A. Probably since 2010, I guess maybe.         1   certification from the North Carolina Division of
      2      Q. Okay. And--                                 2   Motor Vehicles; is that right?
      3     A. 2011.                                        3      A. Yes, sir, it is.
      4      Q. -- is your date of birth February 12th,     4      Q. All right. Have you had a chance to
      5   1961?                                             5   look at it completely?
      6      A. It is.                                      6      A. I'm in the process of doing that as we
      7      Q. Are you 6'1" tall?                          7   speak.
      8      A. I still am.                                 8      Q. Okay.
      9      Q. Blue hair? I'm sorry, blue eyes?            9      A. (Witness reviews exhibit.) Okay.
     10      A. No. Yeah. I'm not that young to have       10      Q.   Do you see -- are you done?
     11   blue hair.                                       11      A.   Yes, sir.
     12      Q. Not yet.                                   12      Q.   Take your time. I don't mean to rush
     13      A. No.                                        13   you.
     14      Q. All right. So, I'm going to ask you to     14      A.   Well, where do you reference to and I'll
     15                                                    15
     16             THE WITNESS: I'm going to need to      16      Q. Maybe nothing.
     17   take a break soon.                               17      A. Okay.
     18             MR. TANGREDI: This is probably a       18      Q. But after you've looked at it
     19   good time to do it.                              19   thoroughly, I want to know if it' s an accurate
     20             THE WITNESS: Well, that's just         20   record of your driving history?
     21   what I thought.                                  21            MR. O'CONNOR: Objection.
     22             MR. TANGREDI: One second               22      A. At initial glance, the best I can say is
     23             VIDEOGRAPHER: All right, because       23   yes.
     24      one moment. We're going off the record. The   24      Q. Okay. So then, what I think we're going
     25   time now is 10:44.                               25   to do is go over the ones that are highlighted --




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                   (DEPOSITION EXHIBIT
                   NUMBER FIVE WAS MARKED
                                               Page 103
             (Whereupon, a brief recess was taken from
          10:44 a.m. to 10:57 a.m.)
                                                            1
                                                            2
                                                            3
                                                            4
                                                                   A. Okay.
                                                                                                     Page 105


                                                                   Q. -- and typically these things work in
                                                                chronological order from back to front.
                                                                   A. Yes, sir.
      5            FOR IDENTIFICATION)                      5      Q. SO, if we go to the eighth page--
      6            VIDEOGRAPHER: We're back on the          6      A. Okay.
      7   record. The time now is 10:57.                    7      Q. -- and we'll start at the bottom.
      8      Q. (Mr. Tangredi) Thank you. Mr. Hooks?        8   There's an entry date at the bottom of January
      9      A. Yes, sir.                                   9   18th, 1978, and it says there was a conviction for
     10      Q. We just marked Exhibit Number Five. Do     10   speeding. Do you see that?
     11   you have that in front of you?                   11      A. Yes, sir.
     12      A. Yes, sir, I do.                            12      Q. Okay. Is that accurate?
     13      Q. Have you had a chance to look at it?       13            MR. O'CONNOR: Which page are we
     14      A. I have.                                    14   on?
     15      Q. And do you recognize what that is?         15            MR. TANGREDI: We're on page 8.
     16      A.   It's mine, driving record.               16            MR. O'CONNOR: So, it's nine pages
     17      Q.   Okay. Have you seen it before?           17   double-spaced, not nine - not 18 pages, just for
     18      A.   Ob, yes, sir.                            18   my own record
     19      Q.   Okay. And it's double-sided.             19            MR. TANGREDI: Nine pages double-
     20      A.   Uh-huh (yes).                            20   sided. We're on page 8.
     21      Q. That's a yes?                              21      Q. The first highlighted entry at the
     22      A.   Yes, sir.                                22   bottom, January 18th, 19781
     23      Q.   And would you agree it's nine pages?     23      A. Uh-huh (yes).
                                                                   Q. That's a yes?



•
     24      A.   Yes, sir.                                24
     25      Q.   And at the bottom it's stamped with a    25      A. Yes.


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          speeding there, correct?
              A. Yes, there is.
                                              Page 106
              Q. Thank you. And there's a conviction for


              Q. Okay. The one above it, and is that
          accurate?
                                                               1
                                                               2
                                                               3
                                                               4
                                                               5
                                                                       A. Yes, sir.
                                                                       Q. Is that accurate?
                                                                       A. Yes, sir.
                                                                                                       Page 108
                                                                   13th, 1991, an offense for driving while your
                                                                   license was suspended. Do you see that?



      6       A. I - it's on my record. I've never             6       Q. Okay. And we go up to the next
      7   contested it. I would have to say it is.             7   highlighted one, January 31st, 2003, a conviction
      8       Q. You anticipated my question. Have you         8   for refusing a chemical test. Do you see that?
      9   ever contested anything on this record?              9       A. Yes, sir.
     10       A. I have never contested anything on this      10       Q. And is that accurate?
     11   record as of now.                                   11       A. I don't really recall that one, to be
     12       Q. What do you mean "as of now"? I don't        12   honest with you.
     13   understand that.                                    13       Q. SO, perhaps by going to the next one
     14       A. WeD, if I - now that it's become such        14   above it that's highlighted, also January 31 st,
     15   a specific point ofinterest, if I fmd something     15   2003, a conviction for driving while impaired. Do
     16   on here I might take it up with the State on a      16   you see that one?
     17   later date and see if I can contest it if I feel    17      A. Same date. Yes, sir, I see tbat one.
     18   it needs-                                           18      Q. And is that conviction for driving while
     19       Q. Okay.                                        19   impaired accurate for January 31st, 2003?
     20       A. -- to be - if it's possible.                 20      A. Yes, sir.
     21       Q. Okay.                                        21      Q. Okay. So, if we go back down to the
     22       A. Fair enough?                                 22   refusing a chemical test, does that help you
     23       Q. That's more than fair.                       23   understand what that might be?
     24       A. Okay.                                        24      A. Well, yeah. I mean, it does, but I
     25       Q. All right. So, back to page 8, the           25   don't recall refusing the test.




•     1
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          1980 --
             A. Uh-hub (yes).
             Q. -- driving - that's a yes?
                                              Page 107
          second entry that's highlighted. It says May 3rd,    1
                                                               2
                                                               3
                                                               4
                                                                      Q. Okay.

                                                                   remember.
                                                                                                       Page 109


                                                                      A. I mean, in all honesty, I don't

                                                                      Q. All right. So, let's go to page 6.
      5      A. Yes, sir.                                      5      A. Okay.
      6      Q. It says - there's a conviction for             6      Q. The highlighted entry, July 27th, 2005,
      7   driving while intoxicated. Do you see that?          7   a conviction for unsafe operation. Do you see
      8      A. Yes, sir, I do.                                8   that?
      9      Q. Was that accurate in May ofl980?               9      A. Yes, sir.
     10      A. The best I can recall, yes, sir.              10      Q. Is that accurate? Looks like it
     11      Q. Okay. The next one above that, 5119190,       11   might've been in Virginia?
     12   a conviction for driving while impaired. Do you     12      A. Yeah, it was in Virginia. Yes, sir.
     13   see that?                                           13      Q. Okay. And if we go up to the next entry
     14      A. Yes, sir, I do.                               14   that's highlighted, 1113/2007, a conviction for
     15      Q. And that was in Wilkes County?                15   speeding, and that looks like it might be in
     16      A. Yes, sir.                                     16   Wisconsin. Is that accurate?
     17      Q. And is that accurate?                         17      A. Yes, sir.
     18      A. That one is accurate.                         18      Q. And if we just move a little bit to the
     19      Q. We can go to page 7. At the bottom, an        19   right, do you see where it says, "CMV," after the
     20   entry highlighted, 7/22/90, a conviction for        20   highlighting ends?
     21   driving while impaired. Do you see that?            21      A. Yes, sir.
     22      A. Yes, sir.                                     22      Q. Does that mean commercial motor vehicle?
     23      Q. Is that accurate?                             23      A. Yes, sir, it does.




•
     24      A. Yes, sir.                                     24      Q. That means you were speeding in a
     25      Q. All right. The one above that, July           25   commercial motor vehicle at the time?


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•
                                               Page 110                                                  Page 112
      1
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              A. Yes, sir.
              Q. Okay. I think the next highlighted
          entry that I want to focus on is on page 4 at the
                                                                1
                                                                2
                                                                3
                                                                       A. I can't say.
                                                                       Q.   Okay.
                                                                       A. I have no recoUection.
                                                                                                                         I
      4   -- the lower one. Do you see that? The failed         4      Q. Ifwe go to page 3, the entry at the
      5   medical certificate?                                  5   bottom that's highlighted, March 18th, 2015, an
      6       A. Yes, sir.                                      6   accident in Forsyth County, North Carolina, with a
      7       Q. And it looks like on 4/16/14 you may           7   commercial motor vehicle. Do you see that?
      8   have failed a medical certification for your CDL?     8      A. Yes, sir.
      9       A. Yes, sir, that's-                              9      Q. Did that happen?
     10       Q. Did that--                                    10      A. Yes, it did.
     11       A. -whenI-                                       11      Q. And above that, also on 3/18/2015, a
     12       Q. Did that happen?                              12   conviction for failing to reduce speed with a
     13       A. Yes, sir, it did.                             13   commercial motor vehicle. Do you see that?
     14       Q. What was the reason for the failure?          14      A. Yes, sir.
     15       A. Failed a random drug test.                    15      Q. Is that accurate?
     16       Q. The next entry above that, 7/27113, it        16      A. Yes, sir.
     17   says that there was an accident -- and I'm going     17      Q. And on page 2, at the bottom, the first
     18   to get in trouble for this, Catawaba (sic) County?   18   highlighted entry says February 19th, 2016, it
     19       A. Catawba.                                      19   appears as though there's a disqualification,
     20       Q. Catawba County.                               20   civil revocation while operating a CMV. Do you
     21       A. Good try.                                     21   see that?
     22       Q. But that was with a commercial motor          22      A. Yes, sir.
     23   vehicle. Do you see that?                            23      Q. And underneath it, it says 30-day civil,
     24       A. Yes, sir.                                     24   a conviction occurred. Do you -- did that happen?
     25       Q. And it -- further to the right, there         25      A. I'm not aware of that one.




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          that?
             A. Yes, sir.
             Q. Is that accurate?
                                               Page 111
          was personal injury in that incident. Do you see      1
                                                                2
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                                                                    there was a stop sign violation up in
                                                                    Massachusetts. Is that accurate?
                                                                        A. Yes, sir.
                                                                                                         Page 113
                                                                        Q. Okay. Above that, on August 24th, 2016,



      5      A. Yes, sir.                                       5       Q. And on the next one up, an entry on July
      6      Q. All right And above that, an entry of           6   27th, 2013, there's a conviction for driving while
      7   10/8/2013, an accident in Iredell--                   7   impaired. Do you see that?
      8      A. Yes, sir.                                       S             MR. O'CONNOR: Objection.
      9      Q. -- County, with a CMV? That's a                 9       A. Yes,I do.
     10   commercial motor vehicle?                            10       Q. And in recall, that's the date you
     11      A. Yes, sir.                                      11   gave us as your wake-up call with alcohol; is that
     12      Q. Above that, an entry dated January 11 th,      12   right?
     13   2014, an accident in Iredell County. Do you see      13       A. Yes, sir.
     14   that?                                                14       Q. SO, is that accurate, that entry?
     15      A. Yes, sir.                                      15       A. Yes, it is.
     16      Q. Was that accurate?                             16       Q. Okay. And if we just continue further
     17      A. I don't - I don't know.                        17   up, the last one, the entry's January 23rd, 2018,
     18      Q. Okay.                                          18   it says there's a conviction for death by motor
     19      A. To be honest with you, I don't know - I        19   vehicle in a commercial motor vehicle. Do you see
     20   don't recall this.                                   20   that?
     21      Q. Okay. The entry above that, January            21       A. Yes, sir.
     22   lith, 2014, do you see there's a conviction for an   22       Q. And that's the crash that happened up in
     23   improper or erratic lane change --                   23   Dalton, right?
                                                               24




•
     24      A. Uh-huh (yes). Yes, sir.                                 A. Yes, sir.
     25      Q. -- in Iredell County? Is that accurate?        25       Q. Okay. Is itfair to say there's four


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          OUI convictions on your record?
             A. It's - yes, sir.
                                                Page 114



             Q. Did you ever contest the OUI charges in
          a criminal court? Just the OUIs? And do you call
          them OUIs down here?
                                                                1
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                                                                                                         Page 116
                                                                    that - or I had an old green International I
                                                                    drove. You know, my dad had a couple, so, you
                                                                    know, we just fulfilled the needs of what they
                                                                    needed. They had a load going to EHzabeth City,
                                                                    I wonld take it for them, so I -- you know, that's
      6      A. DUI.                                            6   about the most honest answer I can give you as far
      7      Q. DUI.                                            7   as that goes -
      8      A. The one, I did. I didn't - well, it's           8      Q. Fair--
      9   irrelevant. What happened in the court happened       9      A. - as far as the first time.
     10   in the court and that's - it's recorded on here      10      Q. Fair enough. Do you know if it was
     11   and this is accurate, so -                           11   months or years the first time? Does that -- can
     12      Q. SO, there's four convictions for DUI?          12   we narrow it down to something like that? No?
     13      A. Yes, sir.                                      13     A. I really can't.
     14      Q. Did you ever tell anybody at Gregory           14     Q. Okay.
     15   Trucking that you had three convictions for DWI?     15      A.   I really --
     16      A. Our record was only seven years back, I        16      Q.   All right.
     17   believe. No, I did not.                              17      A.   -can't.
     18      Q. SO, when was the first time you worked         18      Q. Fair enough.
     19   for Gregory Trucking approximately? I know we --     19      A. I give you -I'd give you some kind of
     20   I'm not looking for exact dates.                     20   a indication if I could.
     21      A. Well, I started driving around here I          21      Q. How about this? They told us your
     22   think in like about '03, but I drove in the          22   nickname was Buster? Do you got nicknames for
     23   capacity of -let me rephrase that. There was a       23   Cecil? Does Cecil have a nickname?
     24   period of time to where we were hauling freight as   24      A. Cecil's Cecil, Brandon's Brandon --
     25   a carrier for Gregory. Now, I made -I'D be           25      Q. Okay.




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          honest with you, I can't tell you which was which.
          So, tbere's probably some blurred lines there as
          far as when I was actually driving for my dad or
          when I was driving for Gregory's Trucking, so --
                                                                1
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                                                                        A. - and Martha's "The Boss."
                                                                                                         Page 117


                                                                       Q. Ain't that the way it always is?
                                                                       A. Tbat's the way it is. We hold true to
                                                                    that down here in the South.
      5   but we -- tbat's where we got started, actually,      5      Q. All right.
      6   was hauling freight for Gregory, and there was a      6            (DEPOSITION EXIDBIT
      7   period of time when we had this old blue truck. I     7            NUMBER SIX WAS MARKED
      8   drove it for - I can't really - I can't               a            FOR IDENTIFICATION)
      9   accurately answer that, but - except for the 2014     9     Q. Mr. Hooks, let me know - do you have
     10   to 2016, I could definitely say that I was working   10   Exhibit Number Six in front of you?
     11   as - on tbeir payroll.                               11       A. Yes, sir, I do.
     12      Q. And we'll refer to that as the second          12       Q. Okay. And do you know what that
     13   time you worked for --                               13   document is?
     14     A.   Okay. Yes, sir.                               14       A. It's official notice of schedule for
     15     Q.   -- Gregory Trucking.                          15   disqualification, suspension of my license.
     16     A.   Gotcha.                                       16       Q. Okay. And when is it dated?
     17     Q.   Do you know how many years the first          17       A. February the 19th, 2016.
     18   time you worked for Gregory Trucking lasted.         18       Q. All right. You're right. Your eyes are
     19   approximately?                                       19   in tough shape today.
     20      A. Dino, I don't really rccall what -- how        20       A. Tbey are, thanks to medicine.
     21   long I - I really don't know. It's just kind of      21       Q. Might it say the 23rd of February, 2016?
     22   like we -- like I said, we were all neighbors and    22       A. What was your question?
     23   friends and -- my nickname's Buster and they'd,      23       Q. The date on the letter, at the top.




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     24   "Hey, Buster, could you do me a favor and take       24       A. Ob, I'm sorry. Well, yeah, okay. Yes,
     25   this load in my truck?" and I would do it, and       25   sir, that's it. I was looking at the date down


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•
                                                     Page 118                                                    120
      1   here.                                                  1       A. Yes, sir.
      2     Q. Okay. So, at the top of the letter,               2       Q. Okay. And at the bottom, it's certified
      3   it's dated February 23r<l, 20161                       3   by the Department of Motor Vehicles of North
      4       A. February 23rd, 2016.                            4   Carolina, right?
      5       Q. At the top where it's highlighted?              5       A. Yes, sir.
      6       A. Well, yes, that's what--                        6       Q. All right. Do you know how many people
      7       Q. Okay.                                           7   were killed in crashes involving large trucks in
      8       A. I said.                                         8   2016?
      9       Q. All right.                                      9       A. No, sir-
     10       A. Yes, sir. That's what -- yes, sir. I           10             MR. O'CONNOR: Objection.
     11   see that.                                             11       A. - I don't.
     12       Q. And this is a letter addressed to Wiley        12       Q. Do you know that information is
     13   Lenue Hooks, Jr.?                                     13   available for free online?
     14       A. Yes, sir, it is.                               14       A. Yes, sir, probably is.
     15       Q. And is it properly addressed?                  15       Q. Are you aware that a driver with a
     16       A. Yes, sir, it is.                               16   reckless driving violation on his driving record
     17       Q. ZIP code and everything?                       17   is a hundred and fourteen percent more likely to
     18       A. Yes, sir, it is.                               18   be involved in a future crash?
     19       Q. Okay. And who is this letter from at           19             MR. O'CONNOR: Objection.
     20   the bottom?                                           20       A. No, sir, I'm not aware of that.
     21       A. It's from the director of processing           21       Q. Do you know what the statistics are on
     22   services, Jeffrey Zimmerman. Oh, the commissioner     22   people with drunk driving convictions in getting
     23   oftheDMV.                                             23   -- and the probability of future crashes?
     24       Q. Of North Carolina?                             24       A. No, sir-
     25       A. Yes,sir.                                       25             MR. O'CONNOR: Objection.




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              Q. All right. Do you see the second
          paragraph?
             A. Vb-huh (yes). Yes, sir.
              Q. That's a yes? It talks about the
                                                     Page 119
                                                                 1
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                                                                 4
                                                                        A. -I don't.

                                                                     available?
                                                                        A. Yes, sir, probably is.
                                                                                                         Page 121

                                                                         Q. Okay. Do you know that information is



      5   effective date of the disqualification of your CDL     5      Q. I want to talk to you about the trip --
      6   license, correct?                                      6      A. While we're on this document here, could
      7      A. Yes, sir, it does, the 19th of2016,              7   I - can I say something?
      8   February.                                              8             MR. O'CONNOR: Just wait until he
      9       Q. At 12:01 a.m. --                                9   asks a question.
     10      A. Uh-huh (yes).                                   10             THE WITNESS: Okay. Well-- okay.
     11       Q. -- right after midnight?                       11      Q. Well, I don't have a problem answering
     12      A. Yes, sir.                                       12   your question. What's--
     13       Q. And when does the scheduled                    13      A. Well, I'm-
     14   disqualification end according to this letter?        14             MR. O'CONNOR: That's not-
     15      A. (Witness reviews exhibit)                       15      Q. -- looking --
     16       Q. It's the next line and it's highlighted        16             MR. O'CONNOR: That's not really--
     17   in blue.                                              17   just wait until he asks a question.
     1S       A. Oh, disqualification ends - well, see,         18             THE WITNESS: Okay.
     19   that blue's got me - I can't see.                     19      Q. Do you have any questions about Exhibit
     20      Q. You saw it earlier.                             20   Number Six, Mr. Hooks?
     21      A. Oh, no, no, I was reading a 2016 date.          21      A. I do.
     22   A year later, on 2017. February 19th, 2017.           22       Q. What?
     23      Q. SO, this is a letter notifYing you that         23      A. Wen, the fact that at the top, correct




•
     24   for one year you were -- your CDL is disqualified,    24   me ifI'm wrong or my vision's wrong, that's dated
     25   correct?                                              25   February 23rd, 2016?


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              Q. That's correct.
                                               Page 122


              A. Okay. You got a letter dated on the
          23rd for a revoction (Ph) that's happening on the
          19th. Can you see where that makes no sense?
          I've never seen this, by the way. Now, this is
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                                                                5
                                                                    time?
                                                                                                         Page 124


                                                                       A. How many times I delivered to BB8.
                                                                    WeD, we went up there on a regular basis, so I
                                                                    went there at least once a month, maybe twice a
                                                                    month, so 24, you know. I knew my way there.
      6   dated the 23rd, the 16th, and it says the             6      Q. Okay. Davisville, Rhode Island; is that
      7   revocation -- you're sending a letter out after       7
      8   the date of supposedly they're suspending my          8       A. Davisville, Rhode Island, yes, sir.
      9   license.                                              9       Q. And were they -- all the trips, and
     10       Q. Okay.                                         10   we'll say approximately once a month, were all
     11       A. I'd like that to be noted.                    11   those trips driving B&C Timbers' lumber?
     12       Q. There's about a four-day gap in there?        12       A. I was bauling lumber. I don't know
     13      A. Well, yeah.                                    13   wbose lumber it was.
     14      Q. Perhaps not including --                       14       Q. Fair enough. Did it come from the
     15      A. Mter.                                          15   Gregory compound yard --
     16      Q. -not--                                         16             MR. O'CONNOR: Objection.
     17      A. After the fact of the day of the               17       Q. -- in Harmony?
     18   suspension.                                          18       A. Well, all I can honestly say is it was
     19      Q. I agree, and there's probably another          19   loaded on a trailer on a truck tbat I was supposed
     20   day or two of mailing before it got to you, right?   20   to be driving. I can't teD you where tbat lumber
     21      A. Well, I've never seen this until right         21   came from, just it was loaded on that truck.
     22   now.                                                 22       Q. And you'd show up at -- in Harmony at
     23      Q. But you agree it's--                           23   the Gregory compound --
     24      A. I've heard of it.                              24       A. They'd tell me that tbere was a load and
     25      Q. -- probably addressed, right?                  25   bill of ladings and I would look - well, they




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             A.
             Q.
             A.
             Q.
                  Well, yes, sir, it is.
                  Okay. Very good.
                  Okay. That's all I wanted -
                  Okay.
                                              Page 123
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                                                                    told me where it was going to, so -
                                                                                                         Page 125


                                                                        Q. Okay. Do you know what the business of
                                                                    BB&S is?
                                                                        A. It's a pressure treating outfit.
      5      A. - to say.                                       5       Q. And··
      6      Q. Yeah. No, that's filir. So, let's talk          6       A. Pressure treat lumber.
      7   about the trip, the day before the crash --           7       Q. And is something special done to regular
      8      A. Yes, sir.                                       8   lumber to make it pressure treated?
      9      Q. -- in Dalton. I understand you had made         9             MR. O'CONNOR: Objection.
     10   a delivery to BB&S up in Rhode Island of some        10       A. It's put in a vessel and it's pressure
     11   lumber; is that --                                   11   treated. I mean, I'm a truck driver. I baul a
     12      A. Yes, sir.                                      12   lot of lumber, but I know wben it used to be a
     13      Q. And that date was August 23rd, 2016,           13   tree but it's called lumber now because tbey cut
     14   right?                                               14   itup,so-
     15      A. Yes, sir.                                      15       Q. All right And do you know ifBB&S has
     16      Q. Okay. Tell me how it came about-               16   its own tractor trailer trucks?
     17   well, let me ask you this. Prior to that date,       17       A. I believe tbey do.
     18   August 23rd, 2016, had you ever made a delivery to   18       Q. Okay. Did you ever see them there?
     19   BB&S in Rhode Island?                                19       A. You know, I've saw trucks coming in and
     20      A. Yes, sir, I have.                              20   out. I'm sure I saw a truck with BBS on it, but I
     21      Q. Do you know approximately how many             21   can't attest to straigbt truck, tractor trailer or
     22   times?                                               22   what it was. I saw trucks with their names on it.
     23      A. In what period of time, a year?                23       Q. SO, it's my understanding, and correct




•
     24      Q. Well, let's say in the -- since 2014           24   me if I'm wrong, that when you left North Carolina
     25   when you started working at Gregory for the second   25   on August 22nd intending to go to Rhode Island,


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          Carolina?
                                               Page 126
          after Rhode Island you were going to go to Monson
          and pick up some lumber and drive it back to North

              A. Funny cycle, ain't it? Take trees up,
          bring trees back.
                                                                1
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                                                                4
                                                                5
                                                                    getting to BB&S?
                                                                                                         Page 128

                                                                        A. Yeah, because I tried to plan in advance
                                                                    and if he had a load that was available, he knew
                                                                    he had a truck for it, then a dispatcher -- if you
                                                                    got a load and you find a truck that's going that
      6       Q. Cycle. So, when you left North                 6   way and it takes it off of one of your trucks that
      7   Carolina, it was a simple three-legged trip that      7   you can use for something else, then it works for
      8   you were planning to take?                            8   everybody.
      9       A. Yes.                                           9       Q. SO, did you call him sometime during the
     10       Q. North Carolina to Rhode Island, Rhode         10   22nd, do you think, August 22nd?
     11   Island to Monson, Monson back home --                11      A. I called him -- well, you know what? I
     12       A. Yes, sir.                                     12   don't know. I just know that most times I'd call
     13      Q. -- to North Carolina? Somehow when you         13   him in advance because he would know I'd be on my
     14   got to Rhode Island, something happened where you    14   way. I could say, "I'm going to be there in about
     15   were given a load to take to Dalton?                 15   three hours. If you have a load going somewhere,
     16       A. Yes, sir.                                     16   teU me wben I get there and/or if you bave one
     17      Q. Tell me how that came about.                   17   now I'U commit to it, II so - I believe in
     18      A. I asked the dispatcher up there if he          18   planning in advance.
     19   had any short loads, which I did upon occasion       19      Q. Sounds like efficiency.
     20   because I understand the productivity of a truck     20      A. Yes. It works better that way.
     21   and ifl can put another load in there it'd put       21      Q. When you called Matt, did he tell you he
     22   more money in my pocket, put money into covering     22   had a load for you?
     23   the operation of the truck, and it fit into my       23      A. I don't know if he told me then or wben
     24   schedule.                                            24   I arrived. I don't remember. All I remember is
     25      Q. So--                                           25   that I ended up with a load going to Dalton.




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          could.
                                               Page 127
             A. I called Matt, he had a load going to
          Dalton, and I told him I'd take it because I

             Q. SO, when you say you called Matt--
                                                                1
                                                                2
                                                                3
                                                                4
                                                                    with Matt prior previously?
                                                                                                         Page 129
                                                                        Q. You had made these kind of arrangements

                                                                        A. It didn't always happen, but upon
                                                                    occasion. I mean, like I said, it was efficient
      5      A. Vb-hub (yes).                                   5   use of a truck, plus it put more money in my
      6      Q. -- did you who's Matt?                          6   pocket, so --
      7      A. He's a dispatcher at BBS.                       7       Q. How many times do you think you got
      8      Q. Okay. Did you call him on a phone?              8   these - and I'm going to call it a short haul?
      9      A. Idid.                                           9   Is that right phrase?
     10      Q. Okay. You didn't talk to him                   10       A. Yes, sir.
     11   personally?                                          11       Q.     a short haul from BB&S?
     12      A. No, I'd usually caU and I liked                12       A. In a year's time, I might've got four.
     13   planning in advance and I'd stop and get breakfast   13       Q. Okay.
     14   and in the process I'd caU and leave him a           14       A. It wasn't often, but I would -- you
     15   message and/or speak to him. I'd tell him I was      15   know, if you go fishing, you cast and see what you
     16   going to be there at such time and I had time if     16   can catch, so I was always casting.
     17   he bad - he knew we - well, I ain't going to say     17       Q. Did Matt at BB&S, the -- is he a
     18   he knew, but we, on a regular basis, went to         18   dispatcher?
     19   Monson, so he had -- they haul short loads of        19       A. I would suppose that would be his title.
     20   lumber to - in New England and I knew there was a    20       Q. Did he know you were from North
     21   possibility of getting a short load, so -- it        21   Carolina?
     22   happened, not frequently, but upon occasion, and     22       A. WeD, he saw me on a regular basis, so
     23   so he said he had one going to Dalton. I looked      23   he knew - yeab, he knew me.




•
     24   at my map. It worked, so I told him I'd take it.     24       Q. And the truck you were driving had North
     25      Q. SO, do you recall calling Matt before          25   Carolina designation on it, license plates?


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             A. Yes, sir.

          the side of it?
             A. It did.
             Q. North Carolina?
                                               Page 130

             Q. Yeah? And it said Gregory Trucking on
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                                                                                                         Page 132
                                                                        A. No. If it fit into my schedule, and
                                                                    they knew I knew my schedule and, you know, as
                                                                    long as it didn't hinder their bUSiness, you know,
                                                                    delivering his lumber or picking up a back haul,
                                                                    like I said, if you go into New England, freight's
      6      A. It did.                                         6   - it's a peculiar area to go to because it's one
      7      Q. SO, you got to BB&S and you -- your             7   way in, one way out, so you pretty much got
      8   truck was unloaded, lumber was unloaded, right?       8   relegated routes and freight that comes in and out
      9      A. Yes, sir.                                       9   of there and so you just work with what you have
     10      Q. And they had a load for you to take to         10   to work with, play your cards as they're dealt.
     11   Dalton, Massachusetts, right?                        11      Q. You've made these -- this trip a few
     12      A. Yes, sir.                                      12   times for --
     13      Q. Who arranges for the -- how much to            13       A. Oh.
     14   charge for the trip from Rhode Island to Dalton?     14      Q. -- BB&S to L.P. Adams?
     15      A. People other than me.                          15      A. No.
     16      Q. Do you know which people did that?             16      Q. No?
     17      A. No.                                            17      A. No, that was a one-shot deal.
     18      Q. Okay. Did you ever call back to Gregory        18      Q. Okay.
     19   Trucking and talk to anybody there that you were     19      A. I mean, I'd gone to other places, but
     20   going to do this short haul?                         20   not particularly L.P. Adams.
     21      A. Prior to loading it, I'm not sure, but I       21      Q. You're familiar with the geography
     22   knew I had the - probably, because, I mean, I        22   between Rhode Island, Dalton, and Monson?
     23   don't do things without at least checking. I         23      A. Oh, yeah.
     24   mean, I knew I had the - I knew it fit my            24      Q. Okay. Would you agree with me that when
     25   schedule, I knew it was possible, I knew it          25   you leave Rhode Island you have to pass Monson to




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                                               Page 131
          covered his costs In paying me, and -- but I do
          know that night when I was in Chicopee I called
          Martha and checked in with her, but other than if
          I had done it that day, I don't know. You know, I
                                                                1
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                                                                    get to Dalton?
                                                                        A. Yep.
                                                                                                         Page 133


                                                                        Q. And then you'd backtrack to Monson back
                                                                    towards Rhode Island?
      5   - in the process of unloading the truck and then      5       A. Yes, sir.
      6   moving to a staging area and loading the truck and    6       Q. But the distance between Dalton and
      7   then getting the bill of ladings and securing the     7   Monson-
      8   load and checking my log book and -- I mean, you      8       A. Well, you got to look at the dollars
      9   know, that's - driving a truck's just not sitting     9   involved in it and whether it's profitable or not.
     10   behind a steering wheel.                             10       Q. But you don't get involved in that,
     11      Q. There's more and more to do.                   11   right?
     12      A. Well, yeah.                                    12       A. Well, I mean, I - I ran my own trucks.
     13      Q. Regulations.                                   13   I mean, I know how to make a dollar.
     14      A. Yes, sir.                                      14       Q. Okay.
     15      Q. Is it your custom and practice that you        15       A. You know, I wouldn't take a load that
     16   would call back to Gregory Trucking to let them      16   was going to, you know, not make money.
     17   know you were gong to take a short haul?             17       Q. SO, did you talk to anybody in Rhode
     18      A. Probably. I mean, I don't - I didn't           18   Island about the load that was going from Rhode
     19   want to do things without them knowing. I mean -     19   Island to Dalton, about the financial part of it,
     20   but if push came to shove and I knew it wasn't       20   how much Gregory Trucking would charge?
     21   going to be a problem, I would make that call.       21       A. I knew.
     22      Q. And in the past it was never a problem?        22       Q. You knew the amount?
     23      A. Never - no.                                    23       A. Yeah.




•
     24      Q. Were you ever denied permission to do a        24       Q. How did you know?
     25   short haul?                                          25       A. Well, I had done it before. I knew what



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•
                                               Page l34                                                 Page 136
      1   they paid per mile.                                   1   assumption that -- I'm under the assumption that,
      2      Q. Okay.                                           2   you know, as long as I'm making money for
      3      A. I mean, they have a rate you go by. I           3   everybody, everybody's going to be happy in the
      4   mean, you know, and most people will-- you'D -        4   end.
      5   you know, two doDars a mile minimum, I'm going to     5       Q. There's a good question. So, you made a
      6   say, so based on a hundred and twenty mile run, if    6   little more money with this back haul, correct?
      7   you're making four ninety-five you're making          7             MR. O'CONNOR: Objection.
      8   money.                                                8       A. Of course.
      9      Q. Okay.                                           9       Q. Okay.
     10      A. I'm just saying - those are                    10       A. I didn't do - I don't do nothing for
     11   hypothetical numbers, but --                         11   free.
     12      Q. I get it.                                      12       Q. Some of us do.
     13      A. So, in your head, you know, you do the         13             MR. O'CONNOR: Objection.
     14   quick math and you go, "WeD, okay. I'm going to      14       Q. SO, you made money on the back haul from
     15   make money on this. They're going to make money      15   Rhode Island to Dalton, right?
     16   on this, cover the cost oHuel" and, you know, it     16       A. Yeah, I got paid my fee, yeah.
     17   just makes it profitable.                            17       Q. Sure. Gregory Trucking made some money
     18      Q. SO, is it -- was it discussed or               18   on the back haul from Rhode Island to Dalton,
     19   assumed, in Rhode Island?                            19   correct?
     20             MR. O'CONNOR: Objection.                   20       A. I wouldn't have done it if they hadn't
     21             MR. SCHULER: Objection.                    21   have made money, too.
     22      A. I don't know.                                  22       Q. All right. And BB&S' lumber was getting
     23     Q. Okay.                                           23   delivered and they were probably making money on
     24     A. It was assumed. That's aU -                     24   the short haul --
     25     Q. Basedon-                                        25             MR. SCHULER: Objection.




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          give you.
                                               Page l35
              A. That's about the honest answer I can

              Q. And is it fair to say it was assumed
          based on past practices?
                                                                1
                                                                2
                                                                3
                                                                4
                                                                       Q.    - correct?
                                                                        A. We can assume that.
                                                                                                        Page 137



                                                                        Q. It's a fair assumption, right?
                                                                        A. Fair assumption, yeah.
      5             MR. SCHULER: Objection.                     5       Q. Okay. What kind of paperwork would you
      6             MR. O'CONNOR: Objection.                    6   -- if any, would you have left Rhode Island with
      7       A. Yeah. Based on that, yeah.                     7   on the way to Dalton?
      8       Q. All right. But you don't get involved          8       A. A bill of lading. You wouldn't leave
      9   with the finances?                                    9   town without it. I mean, that's their--
     10             MR. O'CONNOR: Objection.                   1D       Q. What is a --
     11       A. No, I -- no. Well, you know what, Dino?       11       A. -- that's their required document if the
     12   If I may call you Dino. I mean, I've ran -I've       12   DOT was to pull you over is, amongst all the
     13   run my own trucks, I've run my parents' trucks. I    13   registrations and log books and everything,
     14   mean, certain -- some things may overlap with each   14   they're going to ask you for a bill of lading for
     15   other, but they're - I mean, I don't go out here     15   that load on your truck, so -
     16   and take someone else's equipment and not do what    16       Q. And--
     17   I expect to do with my own. I mean, I --I'm not      17       A. - required.
     18   going to go out here and lose money for Cecil. I     18       Q. For those ofus who don't know, a bill
     19   mean, I'm going to go out here and make it           19   of--
     20   profitable as I can running his truck. He's          20       A. Bill oflading.
     21   paying me and if I find a filler load like that,     21       Q. -- lading would be what?
     22   well it's going to, you know - it's because I'm      22       A. A bill from the shipper to who is a
     23   not going to make it there today to load, but I      23   consignee, a description of the load.
                                                                        Q. SO, who is the shipper in the case of


•
     24   can make it to Chicopee to stay tonight, so it's     24
     25   - it aD works out, so - maybe I'm making the         25   the transportation from Rhode Island to Dalton?



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                   MR. SCHULER: Objection.
                                                Page 138


             A. I -- to be honest with you, I can't
          answer that question because sometimes XYZ may
          ship a load for somebody else called kind of a
          blind bill of lading, so I'll be honest with you,
                                                               1
                                                               2
                                                               3
                                                               4
                                                               5
                                                                      A. No.
                                                                             MR. SCHULER: Objection.
                                                                                                       Page 140



                                                                      Q. Did BB&S ask you about the condition of
                                                                   the truck before you left BB&S to go to Dalton?
                                                                             MR. SCHULER: Objection.
      6   I can't say who that was. It's not a uncommon        6       A. No.
      7   practice, so -                                       7       Q. Did BB&S ask to see any maintenance
      8       Q. Okay.                                         8   records regarding the truck before you left Rhode
      9       A. It's just one of those things you do.         9   Island to go to Dalton?
     10       Q. SO, other than the bill oflading, would      10              MR. SCHULER: Objection.
     11   there be any other paperwork that you would leave   11       A. No.
     12   Rhode Island with to go to L.P. Adams in Dalton,    12       Q. Did BB&S ask to see the tractor
     13   Mass., with?                                        13   trailer's vehicle registration before you left to
     14       A. All that would be required for them          14   go to Dalton?
     15   would be a bill oflading.                           15       A. No.
     16       Q. All right. Prior to leaving BB&S in          16              MR. SCHULER: Objection.
     17   Rhode Island to go to Dalton, did BB&S in Rhode     17       Q. Did BB&S ask to see the tractor trailer
     18   Island check your log book before you left?         18   insurance certificate before you left to drive to
     19             MR. SCHULER: Objection.                   19   Dalton?
     20       A. No.                                          20              MR. SCHULER: Objection.
     21       Q. Did BB&S give you a driving test before      21      A. No.
     22   you left BB&S to go to Dalton?                      22       Q. Did BB&S talk to anyone at Gregory
     23             MR. SCHULER: Objection.                   23   Trucking that you're aware of?
     24       A. Not required.                                24              MR. O'CONNOR: Objection.
     25       Q. I didn't ask you that.                       25              MR. SCHULER: Objection.



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            A. Okay. No.
                                                Page 139


            Q. Did BB&S ask you any questions about
          your driving ability before you left to go to
          Dalton?
                                                               1
                                                               2
                                                               3
                                                               4
                                                                     A. Not that I'm aware of.
                                                                                                       Page 141


                                                                     Q. Did BB&S ask you to talk to anyone at
                                                                   Gregory Trucking before you left for Dalton?
                                                                           MR. SCHULER: Objection.
      5            MR. SCHULER: Objection.                     5     A. No.
      6      A. No.                                            6     Q. Did anybody at BB&S tell you how much -
      7      Q. Did BB&S ask you to -- ask to see your         7   when you had to get that load delivered by?
      8   CDL license before you left to go to Dalton?         8           MR. SCHULER: Objection.
      9             MR. SCHULER: Objection.                    9     A. No.
     10      A. No.                                           10      Q. Did anybody at BB&S tell you how to get
     11      Q. Did BB&S ask you if you had a valid CDL       11   to Dalton, what route to take?
     12   before you left Rhode Island to go to Dalton?       12            MR. SCHULER: Objection.
     13      A. No.                                           13      A. No.
     14      Q. Did anyone at BB&S ask you about your         14      Q. Was that entirely up to you?
     15   driving record before you left BB&S to go to        15      A. It was at my discretion.
     16   Dalton?                                             16      Q. How would you determine a route to
     17             MR. SCHULER: Objection.                   17   Dalton, Mass., if you had never been there?
     18      A. No.                                           18      A. Well, I do something a lot of young
     19      Q. Did BB&S ask you any questions about          19   people can't do, is read a map and take into
     20   Gregory Trucking's safety record before you left    20   account tbe traffic around tbere because Boston
     21   Rhode Island to go to Dalton?                       21   gets congested, and I - my experience is I know
     22             MR. SCHULER: Objection.                   22   enough roads around there tbat I can take an
     23      A. No.                                           23   alternate route if need be, so -




•
     24      Q. Did BB&S inspect the truck you were           24      Q. SO, you consider that whole area Boston?
     25   going to drive to Dalton?                           25           MR. O'CONNOR: Objection.


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                                               Page 142                                                 Page 144
      1      A. Isn't it! I thought Boston started at           1      A. Based on my signature, it has been two
      2   the 91 interstate.                                    2   years ago, I would say yes, it's accurate.
      3      Q. Washington above, right?                        3      Q. SO, you see at the top, it says, "Sold
      4      A. Exactly.                                        4   to"?
      5      Q. Do you agree that the only reason you           5      A. Sold to, yes, sir.
      6   and the Gregory Trucking tractor trailer truck        6      Q. And it's L.P. Adams, right?
      7   were in Massachusetts on August 24th was to           7      A. Yes, sir.
      a   deliver BB&S' lumber?                                 8      Q. And it says, "Delivered to"?
      9            MR. SCHULER: Objection.                      9      A. Yes, sir.
     10            MR. O'CONNOR: Objection.                    10      Q. And it's L.P. Adams, right?
     11      A. No.                                            11      A. Yes, sir.
     12      Q. No? Why don't you agree with that?             12      Q. What's it say at the top?
     13      A. To deliver the - I was delivering              13      A. BB&S Treated Lumber of New England.
     14   Gregory's - I mean, I was delivering lumber to       14      Q. Do you have an opinion as to who the
     15   BB&S.                                                15   shipper is?
     16      Q. Right. But on August 24th --                   16             MR. O'CONNOR: Objection.
     17      A. Yes                                            17             MR. SCHULER: Objection.
     18      Q. -- you were in Dalton, Mass., right?           18      A. WeU-BB&S.
     19      A. I was.                                         19      Q. Okay. What can you tell us about this
     20      Q. Do you agree the only reason you were in       20   load, the items listed?
     21   Dalton, Mass., was to deliver the lumber that you    21      A. It's just a load of typical pressure
     22   gotatBB&S?                                           22   treated lumber, a variety of different sizes.
     23            MR. SCHULER: Objection.                     23      Q. Okay. And each page has a total weight
     24            MR. O'CONNOR: Objection.                    24   on it. Do you see that?
     25      A. Yeah.                                          25      A. Yes, sir.




•
                                                                                                                        0




                                               Page 143                                                 Page 145
      1      Q. Is that the only reason you would've            1       Q. If we look at the second page, it says,
      2   been in Dalton, Mass., that day?                      2   "Total weight." Does that mean a hundred twenty
      3             MR. SCHULER: Objection.                     3   pounds? That's not a hundred twenty thousand
      4             MR. O'CONNOR: Objection.                    4   pounds, is it?
      5      A. I suppose so, yeah.                             5       A. No.
      6      Q. You had no intentions of going to               6       Q. No?
      7   Dalton, Mass., that day, did you?                     7       A. No, because it was a legal load.
      8      A. No, I did not.                                  8       Q. And this was one load from Rhode Island
      9      Q. You were there specifically to deliver a        9   to Dalton, Mass.?
     10   short haul from BB&S to L.P. Adams, right?           10       A. Yes, it was.
     11      A. Yes, sir.                                      11       Q. And I understand you spent the night at
     12             MR. SCHULER: Objection.                    12   a truck stop in Chicopee?
     13      Q. Okay.                                          13       A. Chicopee. Pride Truck Stop, Chicopee.
     14             (DEPOSITION EXHIBIT                        14       Q. I grew up about three miles from there.
     15             NUMBER SEVEN WAS MARKED                    15   I know it well. Do you sleep in the truck?
     16             FOR IDENTIFICATION)                        16       A. Yes, sir, I do.
     17      Q. I'd like you to - Mr. Hooks, please            17       Q. There's a motel right there, as well,
     18   take a look at Exhibit Number Seven.                 18   right?
     19      A. (Witness reviews exhibit.) Yes, sir.           19       A. It's tore down.
     20      Q. Do you recognize that?                         20       Q. Tore down? It wasn't there then?
     21      A. Well, it's got my signature on there, so       21       A. They disposed of the rats, so -
     22   I would say yes. Looks like a bill of lading.        22       Q. Not a good place, the hotel?
     23      Q. Okay. Does it look like the bill of            23       A. I have a truck with a comfortable
                                                               24




•
     24   lading that might've gone along with the trip from        sleeper on it, so I don't - that's where I sleep.
     25   Rhode Island to Dalton, Mass., to help you --        25   I've been on the road for quite a while, so -



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                                                 Page 146                                                  Page 148
      1          (DEPOSITION EXIllBIT                          1      A.    West Virginia state line.
      2          NUMBER EIGHT WAS MARKED                       2      Q.    And then the next one is where?
      3          FOR IDENTIFICATION)                           3      A.    Mahwah, New Jersey.
      4      Q. Mr. Hooks, I think we're on Exhibit            4      Q.   Okay. I think I can read all the
      5   Number Eight?                                        5   others. Okay. I notice you're still looking at
      6      A. Yes, sir.                                      6   your logs. Is there anything you want to talk
      7      Q. Take a look at that and let me know when       7   about on there?
      8   you're done, please?                                 8      A. Oh, no.
      9     A. Yes, sir. (Witness reviews exbibit.)            9      Q. Okay.
     10     Q. Do you recognize Exhibit Number Eight?         10      A. Just stuff -
     11     A. I do. It's copies of my log book.              11      Q. No problems with the logs? They're
     12   Mine.                                               12   accurate?
     13     Q. And is that your handwriting?                  13      A. No, sir.
     14     A. It is.                                         14      Q. Okay.
     15     Q. Okay. SO,let'sjust ExhibitNumber               15            (DEPOSITION EXHIBIT
     16   Eight is three pages, correct?                      16            NUMBER NINE WAS MARKED
     17      A. Yes, sir.                                     17            FOR IDENTIFICATION)
     18      Q. And is it fair to say it covers the           18     Q. I'm going to show you what's marked as
     19   dates of 8/22, 8/23, and 8/24 of2016--              19   Exhibit Number Nine.
     20      A. Yes, sir.                                     20     A. Okay.
     21      Q.   and that there's an entry for each          21     Q. Do you recognize Exhibit Number Nine?
     22   date on each page?                                  22      A. Yep.
     23      A. Yes, sir.                                     23      Q. What is that?
     24      Q. Okay. This is a standard manual               24      A. It's a bill of lading from G&G Forest
     25   driver's --                                         25   Products.




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            A. Looseleaf log book, yes, sir.
                                                 Page 147


             Q. Okay. And this essentially memorializes
          your trip from North Carolina to Rhode Island to
          Dalton, right?
                                                               1
                                                               2
                                                               3
                                                               4
                                                                      Q.
                                                                      A.
                                                                      Q.
                                                                      A.
                                                                            Okay. To who?
                                                                            To YeDow Pine Trading.
                                                                                                           Page 149



                                                                            And is it - where is it being shipped?
                                                                            BB&S.
      5     A. Yes, sir.                                       5      Q.    In Rhode Island?
      6     Q. And do you sign each page?                      6      A.    To North Kingstown, Rhode Island.
      7      A. Yes, sir, I do.                                7      Q. Is it in Davisville or North Kingstown?
      8      Q. And above your signature, it says you          8           MR. O'CONNOR: Objection.
      9   certifY these entries are true and correct; is       9      Q. Do you know?
     10   that right?                                         10      A.    They're like twins, I guess.
     11      A. Yes, sir.                                     11      Q.    It's all Boston?
     12      Q. Are they all true and correct?                12      A.    It's Boston. Yeah, yeah.
     13      A. Yes, sir.                                     13      Q.    Okay.
     14      Q. Okay. You had a chance to look at them?       14      A.    That's above that 95 marker, so -
     15       A. WeD, I fiDed it out, you know. Yeah,         15      Q.    Down at the bottom it says, "Buster."
     16   it was - yes, sir.                                  16   Is that your handwriting?
     17       Q. SO, on the first page, just help me          17       A. No.
     18   figure out in the remarks section what you wrote.   18       Q. No? Do you recognize the signature to
     19   It looks like "PTI" is the first one?               19   the left of "Buster"?
     20       A. Pre-trip inspection.                         20      A. No, I don't.
     21       Q. Okay. Got it. And then the next one          21      Q. Would that be signed by somebody up in
     22   says what?                                          22   BB&S in Rhode Island?
     23     A. Clear Brook. Took a break in Clear             23      A. Somebody received it, yes, sir.
                                                              24      Q. Okay. Do you know what the weight of




•
     24   Brook, Virginia.
     25     Q. All right.                                     25   the truck would be for the bill of lading, Exhibit


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          Number Nine?
                                               Page 150


              A. I don't know. I don't recall right off
          my head, but there's a scale on the yard and we
          leave there we can check it and make sure it's
          legal so that way we don't have to worry about
                                                                1
                                                                2
                                                                3
                                                                4
                                                                5
                                                                    with the tires?
                                                                       A. No, sir.
                                                                                                         Page 152
                                                                       Q. On the way from Dalton -- I mean from
                                                                    Rhode Island to Dalton, were there any problems


                                                                       Q. On the trip from Rhode Island to Dalton,
      6   anything.                                             6   were there any problems with the windshield or
      7       Q. Would that have been--                         7   visibility?
      8       A. So, it was under 80,000 pounds.                8      A. No, sir.
      9       Q. You know that for sure?                        9      Q. Okay. After the crash, you've told us
     10       A. Oh,yeah.                                      10   you were arrested by the Dalton police --
     11       Q. Okay.                                         11      A. Yes, sir.
     12       A. Yeah. I didn't document it, but I'd           12      Q. -- brought to the police station and
     13   weigh it and as long as it was - ifit was 79999,     13   booked; is that right?
     14   it was legal, so -                                   14      A. I don't know if I was booked. They just
     15       Q. Going back to your logs for a quick           15   - they just told me why I had to go on down. I
     16   second--                                             16   don't think I was booked because from - they took
     17       A. Yeah.                                         17   me from there to the courthouse for an arraignment
     18       Q. -- Exhibit --                                 18
     19       A. Yes, sir.                                     19      Q. From--
     20       Q. -- Number Eight --                            20      A. -- best I can recall.
     21      A. Yes, sir.                                      21      Q. From where to the courthouse?
     22       Q. -- it looks like you did a pre-               22      A. From the Dalton Police Department.
     23   inspection? It's noted on each page?                 23      Q. SO, from the crash scene, the Dalton
     24      A. Yes, sir. It's required.                       24   police took you to Dalton police station?
     25      Q. Okay. And there aren't any issues with         25      A. Yes, sir.




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              A. No, sir.
                                              Page 151
          the truck noted in your pre-inspection, is there?

               Q. Okay. Did you have any problems with
          that truck driving it from North Carolina to Rhode
                                                                1
                                                                2
                                                                3
                                                                4
                                                                    to court?
                                                                        A. In Pittsfield, yes, sir.
                                                                                                         Page 153
                                                                        Q. From the police station, you were taken


                                                                        Q. In Pittsfield? And you were released
      5   Island?                                               5   after court?
      6       A. Not that I - well, no, sir.                    6       A. Yes, sir, I was.
      7       Q. Okay. Did you have any problems,               7       Q. Okay. And when you were released from
      8   mechanical problems with that truck driving it        8   court, in Pittsfield Court, were you given a date
      9   from Rhode Island to Dalton, Mass.?                   9   to return to Pittsfield Court?
     10       A. No, sir.                                      10       A. I don't remember. I believe I was.
     11       Q. Everything was working fme on the             11       Q. Well, you've been to court before,
     12   vehicle?                                             12   right?
     13       A. It seemed to be, yes, sir.                    13       A. Yeah.
     14       Q. If it -- if there was something wrong,        14             MR. O'CONNOR: Objection.
     15   you'd be required to note -- to put a note, right?   15       Q. Okay.
     16             MR. O'CONNOR: Objection.                   16       A. We've done establisbed that.
     17       A. Yeah, depending on the severity of it,        17       Q. They usually give you a date to come
     18   take it to get it fixed or make note of it. Yes,     18   back --
     19   sir.                                                 19       A. Yes, sir.
     20       Q. SO, on the way from Rhode Island to           20       Q. --right?
     21   Dalton, the brakes worlced fme?                      21       A. Yes, sir.
     22       A. They seemed to, yeah.                         22       Q. SO, did Pittsfield give you a date to
     23       Q. And on the way from Rhode Island to           23   return to Pittsfield Court?




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     24   Dalton, the steering was good?                       24       A. I don't-
     25       A. I believe so, yeah.                           25             MR. O'CONNOR: Objection.


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•
                                              Page 154                                                    Page 156
      1      A. - remember.                                  1       Q. Is -- one's a mechanic or are they both
      2       Q. Okay. Did you have a lawyer in the          2     mechanics?
      3   Pittsfield Court?                                  3       A. Well, Dewight was a driver.
      4      A. No, I did not.                               4       Q. Driver? And George was a mechanic?
      5      Q. Okay. How did you get back to North          5       A. He was a mechanic, slash, driver. He
      6   Carolina?                                          6     was handy.
      7      A. I came back with George and Dewight          7       Q. SO, they drove to the Econo Lodge,
      8   (Ph).                                              8     picked you up?
      9             MR. MEEHAN: I'm sorry, I didn't          9        A. No, I met them at Village Towing.
     10   hear the last name.                               10        Q. Which is where the wreck was towed?
     11     A. George and Dewight. Dewight.      D-W~I-G­   11        A. Yeah, it was right down the hill from
     12   H-T, Dewight?                                     12     theEcono--
     13            MR. TANGREDI: Don't worry, Jeff.         13        Q. The tractor and the trailer was towed?
     14   I'm going to ask.                                 14        A. Yes, sir.
     15      Q. What is that?                               15        Q. Okay. Did you ever go back to
     16      A.   Dewight. That's the guy's name.           16     Pittsfield Court when you were told to return to
     17      Q.   Oh. It's a person?                        17     Pittsfield Court?
     18      A.   Yeah.                                     18        A. No, I didn't.
     19      Q. I didn't know if -- okay.                   19        Q. Whynot?
     20      A. Okay.                                       20        A. WeD, at the time my father was dying of
     21      Q. Did--                                       21     cancer and that and other things, it just - time
     22     A. George CampbeD and Dewight - I don't         22     slipped by me and my father - I was dealing with
     23   remember his last name.                           23     my mother and my father dying and -~
     24     Q. What was Dwight doing up in the              24        Q. Okay. Did you ever call the Pittsfield
     25   Pittsfield area?                                  25     Court to let them know that you were having some




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             A. They came up to get the truck.

          -- I think: you said Econo Lodge?
             A.   Yes, sir.
                                              Page 155


             Q. Okay. So, after court, you went to the
                                                             1
                                                             2
                                                             3 '
                                                             4
                                                                   family difficulties?
                                                                       A. No, I did not.
                                                                                                          Page 157



                                                                       Q. Did you ever reach out to a Pittsfield
                                                                   lawyer to let them know you were having some
      5      Q.   Did you spend the night?                   5     difficulties and couldn't get there?
      6      A.   Yes, sir.                                  6                MR. O'CONNOR: Objection.
      7      Q.   Okay. And then, Dwight and somebody        7        A. No, I did not.
      8   else -- George -                                   8         Q. How did you eventually go back to
      9      A. George CampbeD.                              9     Pittsfield Court?
     10      Q. -- drove up, picked you up?                 l O A . I found out there was a warrant for my
     11      A. WeD, they came up with equipment to         11  arrest and so I went to the ffighway Patrol down
     12   retrieve the truck and trailer.                   12  here in Statesville and turned myself in.
     13      Q. Okay.                                       13       Q. And what did they do?
     14      A. They have their own equipment for           14       A. They detained me until the --
     15   recovery.                                         IS     Massachusetts arranged for my transportation.
     16      Q. SO, who were Dwight and George?             16        Q. How long did that take?
     17      A. They-                                       17        A. Eighty-seven days.
     18      Q. I know -- we gave their names.              18        Q. To come get you in North Carolina?
     19      A. They worked at the shop and -- at G&G.      19        A. Yeah.
     20      Q. Okay. And when you say "G&G" --             20        Q. Efficiency.
     21      A. Gregory Trucking.                           21        A. I went to Waco, Texas, to make it to
     22      Q. Okay.                                       22     Massachusetts. You figure that one out.
     23      A. I'm sorry.                                  23        Q. Only the government, right?
             Q. They're employees of Gregory Trucking?                A. WeD, yes, I love this country.




•
     24                                                     24
     25      A. Yeah.                                       25     Efficiency's not its best quality, so --



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                                                    Page 158                                                  Page 160
      1      Q. You comfortable talking about the crash         1   but it bas a mount.
      2   itself]                                               2     Q. Is it a separate GPS device separate
      3     A. I -- yeah, I mean it's - it what it is,          3   from your phone?
      4   you know. It's nothing that you'll ever forget,       4      A. No, it's a part oftbe Google mapping
      5   80-                                                   5   software I use.
      6      Q. Why don't you tell us what happened?            6      Q. Okay. So, had you plotted the course on
      7       A. WeU, I had delivered at L.P. Adams and         7   your GPS before --
      9   I was leaving to go to Monson. I was going down,      9     A. WeD, I had come in town on Highway 20
      9   I believe it's Hubbard Avenue, which turns into       9   and it was early in tbe morning. It was about -
     10   Division or whatever - evidently the two towns       10   almost 7:00 wben this aU transpired and knowing
     11   divide right there at that intersection - and I      11   bow a little metropolitan gets, I was going to try
     12   was headed down the road. The road goes straight,    12   to divert around the traffic and not be a part of
     13   but it turns into a yield onto South Street or       13   tbe traffic, and so I thought I was -- going
     14   whatever it is to the right, and then the road       14   around the east side of town was my - yeab, I
     15   curves to the left to the signal light there.        15   plotted my course, so -
     16          Tbere was a box truck in front of me and      16      Q. And plotting a course with a tractor
     17   it was obstructing my view. I was driving tbe        17   trailer truck is different than a passenger car;
     19   speed limit, just trucking along, and right as we    19   is that right?
     19   came up to tbe intersection, wbich I was not         19      A. You have truck routes.
     20   familiar with, when that truck cleared the           20      Q. And a lot ofiliat is because of
     21   intersection it was actuaUy a yield onto tbat        21   overpasses --
     22   road and tbere was a lady - there was a dog come     22      A. Overpasses-
     23   running out and the - but the thing that people      23      Q. -- and heights?
     24   misconstrued is the - I was looking straigbt         24      A. - restrictions, residential areas.
     25   ahead because tbe road - actuaUy if you look at      25      Q. SO, you knew that before you left L.P.




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                                                    Page 159
          a map, the road to the intersection where the
          actual light was does a left oblique and tben it's
          right tbere, and by the time that truck had
          cleared the intersection there was a sign there
                                                                1
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                                                                    Adams, right?
                                                                                                              Page 161


                                                                       A. Wel1, it was obvious tbat was a truck
                                                                    route because they had a sign, you know, warning
                                                                    trucks ofthe 11'1" clearance, so --
      5   for an 11'1" which is a low clearance and, you        5      Q. But did you think you were going to go
      6   know, the lady -- I saw the dog and then I saw tbe    6   that way initially?
      7   lady come out from behind the shadow with a leash,    7       A. No.
      9   so the dog - and that's part of my training, to       B       Q. Then I misunderstood. I thought you had
      9   look ahead for stuff, you know, to try to be aware    9   to steer away from that area at the last minute.
     10   of what's going on, and when I saw the 11'1" sign    10   Not the last minute, but --
     11   I had to turn to the left and 1- you know, I         11      A. Well, on tbat street, the road veers
     12   went through the intersection. State's evidence,     12   into a yield and the actual signalUght's like a
     13   tbere's skid marks but something went wrong and I    13   left oblique and then it's right tbere. You're
     14   ended up hitting Mr. Forbes.                         14   right on it. There's no warning that that
     15       Q. Anything else you want to -- when you         15   signal's there. It's just the flow of traffic.
     16   left L.P. Adams, you were heading for Monson; is     16   If I - I bad a map downloaded. I was -- I wish
     17   that right?                                          17   I'd have brought it now because it would've made
     19      A. Yes, sir.                                      19   sense to everybody, but the way tbe flow of
     19      Q. Did you plot your itinerary, your              19   traffic went, tbe way that intersection was laid
     20   course, before leaving L.P. Adams?                   20   out, it seemed as though it jnst aU flowed into
     21      A. I was fol1owing my GPS, which I rarely         21   tbat -- I think it's caUed Soutb Street.
     22   do.                                                  22       Q. Are you saying there was no sign prior
     23      Q. And where is the GPS? Is it on your            23   to the intersection telling you there was an




•
     24   phone?                                               24   intersection coming up?
     25      A. It's on a mount. Yes, it's on my phone,        25      A. Actually, no, because the signal light,



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                                               Page 162
          that road traveling straight turns into a yield
          with the low clearance sign, and there's - no,
          tbere's no warning ofthe intersection.
             Q. No signage before you get to it telling
          you there's a traffic light coming up?
                                                                1
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                                                                   weren't you?
                                                                              MR. O'CONNOR: Objection.
                                                                                                         Page 164
                                                                      Q. You were given the opportunity to
                                                                   testify in your criminal case if you wanted,


                                                                      A. I don't think -- I've never had a
      6      A. . No, because the -- because tbis flows --      6  criminal case like this, so --
      7   this free flows into a yield and the traffic          7     Q. Well, you've had a couple of others.
      8   lights, actually you have to make a left turn to      8  How was this one different?
      9   the traffic light.                                    9             MR. O'CONNOR: Objection.
     10      Q. How long were you looking at the dog?          l O A . Your traffic courts is a lot different
     11      A. A brief second. I mean, I wasn't               11  from being, you know, negligent, homicide.
     12   looking at the dog. The dog was in my field of       12     Q. But driving while impaired is criminal,
     13   view. Okay? The intersection goes straight, and      13  right--
     14   the signal light's to the left, so the field of      14     A. It is.
     15   the - the dog's in my field of vision, and then      15     Q. .. in North Carolina? All right. So,
     16   onee that box truck bad cleared the intersection     16  you've-.
     17   tbere's a -- there's tbe yield sign and there's      17     A. I'm not going to contest that.
     18   the 11'1", my truck's 12'6", so to take an evasive   18     Q. Okay.
     19   action I turned to the left and got on the brakes    19     A. My wrongs are wrong.
     20   and the State's evidence shows the skid marks,       20     Q. SO, I've been provided with some partial
     21   something went awry.                                 21  portions ofletlers you wrote from jail in
     22      Q. Do you know what direction, compass            22  Massachusetts, and one of them mentions, I think,
     23   direction, you were heading just prior to the        23  an Ashley Briggs. Does that sound familiar to
     24   crash?                                               24  you?
     25      A. I'd have to say west, west-northwest.          25     A. Yeah.




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                                              Page 163
              Q. Did you get hurt at all in the crash?
              A. No, sir.
              Q. Can you think of any actions you
          could've taken that would've prevented that crash?
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                                                                4
                                                                         Q. Who is Ashley Briggs?
                                                                                                         Page 165


                                                                         A. Somebody tried to contact me up there
                                                                   and correspond with me and visit with me. I don't
                                                                   kaow what tbe relevance of this is. I mean -
      5              MR. O'CONNOR: Objection.                   5      Q. Do you object? Is that --
      6       A. No, sir.                                       6      A. I don't object. I mean --
      7       Q. Do you recall the witnesses at your            7      Q. So--
      8   criminal trial who testified about their              a             MR. O'CONNOR: If a witness can
      9   observations just before the crash?                   9  object.
     10       A. Yes, sir, I do.                               l O A . I mean, for the outcome of this
     11       Q. Do you recall that the witnesses              11  deposition -
     12   testified that your head was down as you entered     12      Q. Well, there seems to be an inference
     13   the intersection?                                    13  that I have something to do with Ashley Briggs, so
     14       A. Yes, sir-                                     14  1-
     15              MR. O'CONNOR: Objection.                  15      A. Well, I was - that's tbe impression I
     16       A. -Ido.                                         16  got, and I may have been wrong because I -- you
     17       Q. Do you disagree with that?                    17  know, I was being asked to consider some things
     18       A. Yes, I do. How can a man with his bead        18  and - which -- if I give you any kind of answer
     19   down and the skid marks not be applying the          19  it'll only be specnlation. That's what I thought.
     20   brakes? I mean, you know, I never got a chance on    20  Yeah--
     21   the stand up there, which I regret, but, you         21      Q. Okay.
     22   know--                                               22      A. -- tbat's what Jthought. Did you not
     23       Q. But you had that chance, didn't you?          23  know Ashley Briggs?




•
     24              MR. O'CONNOR: Objection.                  24      Q. I don't know Asbley Briggs.
     25      A. I -- yeah, I guess I did.                      25      A. Well, you shonld Google her then -


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      1      Q. I did.                                         1   has nothing to do with nothing. It was all
      2      A. -- because she might be a nice gal.            2   fabricated.
      3      Q. I've tried. Well, from your                    3       Q. SO, I 1.lllderstand being distraught, I do.
      4   description, she was attractive?                     4       A. Okay. J mean, I've had my -
      5      A. She was.                                       5             MR. O'CONNOR: Just-
      6      Q. Did she actually come there?                   6       A. Anyhow.
      7      A. Once.                                          7             MR. O'CONNOR: Just wait for him to
      8      Q. And she actually you sit down with             8   ask a question.
      9   her?                                                 9             THE WITNESS: Okay..
     10      A. Once.                                         10       Q. SO, what was the purpose - your purpose
     11      Q. We'll talk in facts, not speculation.         11   in fabricating that story?
     12      A. Yeah.                                         12       A. You know-
     13      Q. Was she alone?                                13             MR. O'CONNOR: Objection.
     14      A. Yeah. I suppose.                              14       A. - the other day when the - I was aware
     15      Q. You didn't see anybody else?                  15   that you had them, I was like, you know, sometimes
     16      A. No. Just my lawyer.                           16   you look back in the past and you go, "What tbe
     17      Q. I'm sorry?                                    17   hell was I thinking," you know. I pretty much try
     18      A. Just my attorney.                             18   to be honest witb people and I don't know what I
     19      Q. She was with your attorney?                   19   was trying to gain out orit I really don't.
     20      A. No, no, no. I said other than that.           20   There was nothing to gain. I was just feeling
     21      Q. Okay. So, this Ashley Briggs came and         21   sorry for myself and the fact that I was in tbere
     22   visited you alone? Did you meet with her alone?     22   and, you know, the lawyer - my lawyer had said
     23      A. No, there's guards in there.                  23   that - well. You know, just to - I don't know.
     24      Q. Okay. When you meet with your lawyer,         24   Let's get past this.
     25   you can meet with your lawyer alone, right?         25       Q. Okay.




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             A. Well, yes. Yeah.

          the presence of guards, right?
              A. Yeab.
                                              Page 167


             Q. Okay. So, any other visitor you meet in
                                                               1
                                                               2
                                                               3
                                                               4
                                                                   apologize to whoever.
                                                                                                            Page 169
                                                                      A. I fabricated it. I fabricated it and I

                                                                      Q. You're a man of your word and a man of
                                                                   your oath, so thank you. I 1.lllderstand while you
      5       Q. And do you know if people have to sign        5   were injail in Massachusetts that some people
      6   in if they come to visit you?                        6   from North Carolina sent you some canteen money?
      7       A. I suppose.                                    7      A. Theydid.
      8       Q. Okay. So, if Ashley visited you, there        8      Q. Do you know who sent it to you?
      9   would be a record at the jail that you had a         9      A. Actually, no, because the way I got it
     10   visitor that date and time, right?                  10   -- well, I mean, I know Martha sent me some. I
     11              MR. O'CONNOR: Objection.                 11   don't know if it was for a holiday or whatever,
     12       A. You know, I don't know where this - I        12   but--yeah.
     13   mean, I - I just - you know.                        13     Q. Do you know how much money was sent from
     14       Q. What did you and Ashley discuss?             14   North Carolina to you while you were in jail in
     15       A. Tbat was a fabricated story.                 15   Mass.?
     16       Q. Thank you for your honesty.                  16      A. In total?
     17       A. I was distraught at the time. I really       17      Q. Yeah.
     18   -- I don't even know why I did that. I really       18      A. You know, my mother handed me an
     19   don't. It's a fabricated story. It's all lies       19   envelope not long ago and I have not looked
     20   and it has nothing to do with nothing. I guess in   20   through it, so - tbe honest answer, no, I don't.
     21   a way I was trying to get - I mean, Cecil and his   21      Q. Okay.
     22   company and his sister and his son have always      22      A. Doyou?
     23   been straight-up and nice to me and I was           23      Q. No, not yet.




•
     24   distraugbt. I was. So, I -- that's a fabricated     24      A. I'm just curiOUs.
     25   story. That is, and I'm sorry, Cecil. So, that      25      Q. I don't know. No.



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             A. See how much lowe my mom.
                                               Page 170


             Q. But they keep track of that stuff.
             A. Yeah, they do, they do. There's a
          record of everything -
             Q. Yeah.
                                                                1
                                                                2
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                                                                4
                                                                5
                                                                       A. Oh, yes, sir.
                                                                       Q. Okay.
                                                                                                         Page 172



                                                                       A. Yes, sir. I'll always take more, but-
                                                                        Q. Well, were you willing to take
                                                                    substantially less --
      6      A. -- ain't there?                                 6      A. No.
      7      Q. And there is, usually. How did you get          7       Q. -- than the average truck driver?
      8   paid by Gregory Trucking?                             8       A. I mean - no, I mean, I'm - you know,
      9      A. Percentage of the load.                         9   at the end ofthe day if! make - what I'm
     10      Q. Every time?                                    10   making's happy with me, I'm happy with it, and so
     11      A. Every time.                                    11
     12      Q. Did you have any input into what loads         12       Q. Did--
     13   you would get? Did you have any input in what        13      A. I mean, 1 don't go in doing any
     14   loads you would get or was it random?                14   comparisons with anybody.
     15      A. I never argued with CeciL Whatever he          15      Q. Did you have any other sources of income
     16   needed, I'm -- you know, I'm at his disposal. I      16   in 2016 other than Gregory Trucking?
     17   drive his truck. Where he tells me to go, I go.      17      A. No.
     18      Q. Imean--                                        18      Q. And by "any other sources," I mean even
     19      A. I suppose I could've ask sometimes, but        19   people --
     20   I never took advantage of that situation if it did   20      A. I understand. No.
     21   exist.                                               21      Q. Not in - not necessarily income you
     22      Q. SO, when you say a percentage ofthe            22   earned, but did anybody else help you out
     23   load, is it a percentage of the charge?              23   financially perhaps?
     24      A. I guess so. I mean, it's a little              24      A. No.
     25   different on - I mean, they paid me well, you        25      Q. Okay. Do you agree that a trucking




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          know. I was happy with it.

          per hour approximately?
              A. I haven't got a clue.
                                              Page 171


              Q. Okay. Do you know what it came out to
                                                                1
                                                                2
                                                                3
                                                                4
                                                                              MR. O'CONNOR: Objection.
                                                                        A. Yes.
                                                                                                         Page 173
                                                                    company must use only qualified drivers to prevent
                                                                    crashes and protect us all from injury and death?



      S       Q. Do you know what the average truck             5       Q. Do you agree that a shipper must choose
      6   driver's salary was in the time frame of2014 to       6   a competent and careful trucking company to ship
      7   2016?                                                 7   its goods to prevent disaster on the highways?
      8             MR. O'CONNOR.: Objection.                   8            MR. SCHULER: Objection.
      9       A. The average nationwide?                        9            MR. MEEHAN: Objection.
     10       Q. Yeah.                                         10            MR. O'CONNOR: Objection.
     11       A. I would probably say about 60, 70,000 a       11      A. 1--
     12   year.                                                12      Q. Again?
     13       Q. Do you - did you fit within that range?       13      A. Yeah.
     14       A. I suppose so. I'm being honest with           14       Q. Do you agree that a shipper must choose
     15   you, I don't--                                       15   a competent and careful trucking company to ship
     16       Q. Okay. Did you work 40 hours a week for        16   its goods to prevent disaster on the highways?
     17   Gregory Trucking --                                  17             MR. MEEHAN: Objection.
     18       A. I did.                                        18             MR. O'CONNOR: Objection.
     19       Q. -- between 2014 and 2016?                     19             MR. SCHULER: Objection.
     20       A. Probably, yeah.                               20       A. Yeah.
     21       Q. Okay. You feel as though you were             21       Q. Wasthata--
     22   fairly paid?                                         22       A. Yes.
     23       A. I enjoyed working with them.                  23       Q. --yes? Tbankyou.




•
     24       Q. Did you feel as though you were fairly        24       A. Yes•
     25   paid?                                                25       Q. Do you agree that tractor trailer



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          and death?
              A. Yes.
                    MR. O'CONNOR: Objection.
                                               Page 174
          drivers must follow the safety rules of the road
          to prevent crashes and protect us all from injury
                                                                1
                                                                2
                                                                3
                                                                4
                                                                5
                                                                                                              Page 176
                                                                         A. Yes, sir. It's a equipped truck with a
                                                                     sleeper.
                                                                         Q. Do you have the option to stay at a
                                                                     hotel?
                                                                         A. It's a nice truck, a nice sleeper, good
      6       Q. Do you know if Gregory Trucking was a          6    mattress, I don't see why ..
      7   member of any trucking organizations?                 7        Q. All right. Can you cook inside your
      8       A. 1 have no idea.                                8    truck?
      9       Q. Did you ever see any trucking magazines        9        A. I can't cook, period.
     10   in the office?                                       10        Q. You got a refrigerator?
     11       A. Yes.                                          11        A. Well, yeah.
     12       Q. From where?                                   12        Q. Shower?
     13       A. I -- there's a variety of them. 1 can't       13        A. No.
     14   specify any particular one.                          14        Q. Some of them do.
     15       Q. Okay. Do you know who Martha Somers was       15        A. They do. They have washers and dryers
     16   employed by?                                         16    in them now.
     17       A. No.                                           17        Q. Did you ever do any work for Brandon
     18       Q. Do you know who Martha Somers performed       18    Gregory at B&C Timbers?
     19   work for?                                            19             MR.. O'CONNOR: Objection.
     20             MR. O'CONNOR: Objection.                   20        A. No.
     21       A. No (witness indicates negatively). I          21        Q. You had mentioned earlier that Brandon
     22   mean, you - no.                                      22    had given you yoUr test drive?
     23       Q. Did you get paid by check all the time        23        A. WeD, I mean, way back when. You know,
     24   by Gregory Trucking?                                 24    the .. okay. The 2014 to 2016 period that we're
     25       A. I did.                                        25    .. seems to be like the primary thing we're




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              Q. Did they ever give you cash?
                                              Page 175


              A. Never. Ouly if they were advancing
          money for tolls that was part of the job.
              Q. What other money what other things
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                                                                                                              Page 177
                                                                    talking about, Brandon -- Brandon took care of the
                                                                    planer and tbis, that, and the other thing. I
                                                                    mean, so -- that's a good question. I don't know.
                                                                      Q. What do you mean?
      5   would Gregory Trucking pay for on a trip, say, to     5      A. I mean, that's a famlly-run business,
      6   Rhode Island?                                         6   you know. They - you've got the trucking and -
      7       A. Well, they paid for the tolls and fuel         7   I don't - the trucking's all I know of, I mean,
      8   and I mean just regular expenses. Any expense         8   to be bonest. If you want an honest assessment,
      9   that wasn't deemed my responsibility.                 9   B&e or B&G or whoever, G&G, I know G&G took care
     10       Q. What I'm trying to designate. Let's say       10   of taking trees and making them into lumber and
     11   for example food. Did you pay for your own food?     11   Gregory Trucking took care of hauling that to its
     12       A. Yeah, that was my responsibility.             12   destination, so that's -
     13       Q. That was your responsibility?                 13      Q. Andyou--
     14       A. Yes, sir.                                     14      A. - all I really know.
     15       Q. If you chose to stay at a motel, was          15      Q. And you drove?
     16   that your responsibility?                            16      A. And I drove.
     17       A. Ifit was deemed business, no, they paid       17      Q. Who was in charge?
     18   it and I mean - but rarely .. our runs rarely        18            MR. O'CONNOR: Objection.
     19   involved that, so .. but the times that I did bave   19          MR. MEEHAN: Objection.
     20   to layover once or twice, that's bappened.           20      A. You know, I'm not going to answer that
     21       Q. Well, the trip that we talked about from      21   question.
     22   North Carolina to Rhode Island to Dalton to Monson   22     Q. Whynot?
     23   back to North -                                      23            MR. O'CONNOR: Objection.




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     24       A. No,1 stayed in tbe truck.                     24      A. Because at any given time, I mean, you
     25       Q. You normally sleep in the truck?              25   got Cecil and Brandon and Martha. The three of



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                                              Page 178
          them, if they said jump I jump. I mean, I did
          what they said. They were good people, you know.
          We - it was nice to work in that environment.
              Q. All right. Did you ever -- prior to
          2014, did you ever apply for ajob as a tractor
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                                                                      Q. Okay.
                                                                                                        Page 180

                                                                      A. In all my years ofbaving log books
                                                                   audited by the DOT, I've never been hit with tbat.
                                                                   So, if it is, it's not enforced by the DOT federal
                                                                   -- on a federal level.
      6   trailer truck driver and get refused because of      6       Q. What have you been hit with?
      7   your driving record?                                 7             MR. O'CONNOR: Objection.
      8       A. No.                                           8       A. Hours of service. I mean, occasionally
      9       Q. Did you ~ver apply to any other tractor       9   you go over a little bit and they'll- I mean,
     10   trailer -- strike that. Did you ever -- before      10   they can, you know, nitpick you for anything, so
     11   2014, did you apply to any motor carriers to be a   11
     12   tractor trailer truck driver?                       12      Q. The night before the crash, I know you
     13       A. Not that I can recall.                       13   said you stayed in Chicopee --
     14       Q. Okay.                                        14      A. Yes, sir.
     15       A. I mean, I had a couple - no. No.             15      Q. -- at the Pride
     16      Q. When you left Rhode Island to go to           16      A. Yes, sir.
     17   Dalton, who dispatched you?                         17      Q. -- station? Did you get a good night's
     18              MR. SCHULER: Objection.                  18   sleep?
     19              MR. O'CONNOR: Objection.                 19      A. Yes, sir, I did.
     20       A. You'd have to elaborate on that a little     20      Q. How do you normally sleep? Pretty well?
     21   bit. I mean-                                        21      A. I do.
     22       Q. What is a dispatcher?                        22      Q. Were you tired the next morning?
     23              MR. O'CONNOR: Objection.                 23      A. No, sir. I slept a little over 12
     24       A. A dispatcher's a person who lines loads      24   hours, I believe.
     25   up with trucks.                                     25      Q. What time did you get up to drive to




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          Dalton?
                                              Page 179
              Q. The short haul between Rhode Island and

              A. I initiated it and Matt agreed to it and
          I took it.
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                                                                   Dalton from Chicopee?
                                                                                                        Page 181


                                                                      A. Well-- you know, I try to get up in
                                                                   time to slumber around a little bit and have
                                                                   coffee, so -- you know, it was about an hour's
      5       Q. Okay. So, would there be a dispatcher         5   trip there, so --
      6   in that situation?                                   6      Q. They have a good little diner over
      7       A. I guess Matt would be.                        7   there.
      8              MR. SCHULER: Objection.                   8      A. They do. They do.
      9       Q. Okay. Why do you say that?                    9      Q. Just before the crash, did you see that
     10       A. Well, he dispatched - he knew about the      10   the traffic light was red?
     11   loads coming out of DDS.                            11              MR. O'CONNOR: Objection.
     12       Q. Okay. On your driver's logs that we          12      A. No, sir (witness indicates negatively).
     13   have, I think it's Exhibit Number Eight.            13      Q. Did you see the traffic light at all?
     14       A. Yes, sir.                                    14      A. No, sir (witness indicates negatively).
     15       Q. I'm not going to ask you to look at it,      15              MR. TANGREDI: I think I'm done,
     16   but are you supposed to put your mileage on those   16   but there may be some other questions.
     17   logs?                                               17                 EXAMINATION
     18       A. It's not mandatory.                          18   BY MR. THOMAS SCHULER:
     19       Q. It's not mandatory?                          19      Q. Mr. Hooks, we met before. My name is
     20       A. No, sir. The DOT wouldn't hit you for        20   Tom Schuler, and I represent BB&S. I have a few
     21   it if they inspected it.                            21   questions for you, sir.
     22       Q. Are there supposed to be post-trip           22      A. Yes, sir.
     23   inspection notations on your logs?                  23      Q. Now, am I correct that the accident




•
     24              MR O'CONNOR: Objection.                  24   occurred in Dalton with Mr. Forbes after you had
     25       A. I don't know.                                25   completed your delivery ofBBS product to L.P.


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          Adams?
              A. Yes, sir.
                                              Page 182



              Q. Okay. And when you delivered that
          product to L.P. Adams, you were doing work to
          further the business of Gregory Trucking, correct?
                                                                1
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                                                                                                            Page 184
                                                                       Q. Okay. So, that's -- that just indicates

                                                                        A. That's just indicating that I have
                                                                    received that load and I accepted it.
                                                                        Q. Okay. And when you delivered the load
      6      A. Yes, sir.                                       6   to L.P. and Adams, did that complete the work: that
      7             MR. O'CONNOR: Objection.                    7   you were doing, delivering the BBS product?
      8       Q. Okay. And now -- and I think you               8       A. Yes, sir.
      9   indicated in your log that - which I think is in      9             MR. O'CONNOR: Objection.
     10   front of you as Exhibit Eight. I think you           10       Q. And is it fair to say that the job that
     11   indicate in the log, it says, "Unload." Is that      11   you did short hauling lumber, BBS lumber for
     12   the notation that you made after you completed a     12   Gregory Trucking, was completed when you made that
     13   load?                                                13   delivery to L.P. Adams?
     14      A. Well, I'm going to - tbat's probably           14             MR. O'CONNOR: Objection.
     15   not the most accurate, because at tbe time I bad     15       A. Yes, sir.
     16   left tbere I hadn't - you bave a time frame that     16       Q. And that was before the accident with --
     17   you can update your log book. Like every four        17   the unfortunate accident with Mr. Forbes?
     18   hours it bas to be updated, so the time that         18       A. Yes, sir.
     19   that's filled out on there probably doesn't          19       Q. Okay. And I think you told us that
     20   accurately indicate the actual time because I        20   after you made that delivery you input some data
     21   think tbe accident was like 6:43, but I was within   21   into your GPS to give you directions to go to your
     22   the realm ofthe time frame of updating my log,       22   next activity, which was to go pick up something
     23   but once the accident had occurred, I caught this    23   at -- in Monson?
     24   up because that's what they like you to do wben      24       A. Yes, sir.
     25   they come to audit your book --                      25       Q. Okay. And when you were -- when you




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              Q. Okay.
                                              Page 183


              A. - because as I said,l was expecting
          the DOT to show up, so-
              Q. Okay. So, you made that entry,
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                                                                    to pick up the load at Eagle Logistics?
                                                                       A. Yes, sir.
                                                                                                            Page 185
                                                                    left the L.P. and Adams lot and you were driving,
                                                                    you were your intention was to head to Monson


      5   "Unload," at some point after the accident?           5       Q. Okay. And were you working at that
      6       A. Yeah, probably.                                6   point when you're driving toward Monson, after
      7       Q. Okay. And when you went to L.P. and            7   your delivery to L.P. Adams? At that point, were
      8   Adams, you -- what did you do? Did you hand over      8   you working to -- on the job for product at Eagle
      9   the bill oflarling to them and let them inspect       9   Logistics?
     10   the load that you were delivering?                   10              MR.. O'CONNOR: Objection.
     11       A. Sbipping/receiving, you give them the         11      A. Not that I understand.
     12   bill oflading and they'll- they give you             12       Q. Okay. Well, you're on your way to
     13   instructions to pull around here, unstrap here, do   13   Monson, correct?
     14   whatever, so you go in - yeah, that's what you do    14      A. It's kind ofOke you're free and clear
     15   to get instructions from them on what to do.         15   at this point in time until yon - I mean, I'm not
     16       Q. And when you signed the bill of lading        16   - I baven't obligated to hauling anybody's load.
     17   at the bottom where it says -- has your name there   17   I don't have a bill oflading for a load on that
     18   on Exhibit Seven?                                    18   truck, so I'm not contracted to anybody.
     19       A. Yes, sir.                                     19       Q. Well, let me ask you a different way.
     20       Q. You see? What's the purpose of that?          20      A. Okay.
     21   What does that signifY to you, sir?                  21      Q. You weren't doing any business
     22       A. That's my signature claiming that I           22   delivering any product for BB&S when you were on
     23   picked the load up. That's for the records -         23   your way to Monson after you --




•
     24       Q. Okay.                                         24      A. Ob,no.
     25       A. -- of the shipper.                            25       Q. -- made a delivery?


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            A. Yeah, correct
            Q. Okay.
            A. Correct
                                                 Page 186




            Q. And you weren't doing any business for
          BB&S when the unfortunate accident with Mr. Forbes
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                                                                               EXAMINATION
                                                                    BY MR. JEFFREY MEEHAN:
                                                                                                         Page 188



                                                                      Q. Mr. Hooks, my name is Jeff Meehan. I
                                                                    represent B&C Timbers.
                                                                        (Off record exchange.)
      6   -                                                     6          Mr. Hooks, as I just indicated, my name
      7       A. Correct                                        7   is Jeffrey Meehan. I represent B&C Timbers, LLC,
      8       Q. -- occurred, correct? And as best you          8   doing business as G&G Forest Products. I have a
      9   can recall, let me ask you this, did you speak at     9   few questions.
     10   all with Martha to give a status as to what you      10       A. Yes, sir.
     11   were up to or what you were doing when you got to    11       Q. With regard to your driving -- your
     12   the Pride in Chicopee, Mass.?                        12   commercial driver's license in February of2016,
     13             MR. O'CONNOR: O~ection.                    13   when it was reissued, the new license, did you
     14       A. Yeah.                                         14   provide Gregory Trucking with a copy of that?
     15       Q. All right. What did you tell Martha?          15       A. I did.
     16       A. I told her I had -I was, you know,            16       Q. Okay. And was there any restrictions on
     17   bedding down for the night in Chicopee -             17   that?
     18       Q. Okay.                                         18       A. There was not
     19       A. - so they would know where 1- what my         19       Q. And with regard to the revocation of
     20   location was, so -                                   20   that license for a year, did you testifY you'd
     21       Q. Did you have any discussion with Martha       21   never received notice of that?
     22   about the fact you were delivering a short haul to   22       A. I hadn't ever seen tbat paper until just
     23   L.P. and Adams on that phone call?                   23   now. I knew ofit, because it had came about that
     24       A. Probably. I mean, I'm -I didn't do            24   they had said that they suspended my license on
     25   things without letting them know what I was doing,   25   the 19th, but as you see in that letter, it was




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          but then again, there were times where, like I
          said, I had, you know - had picked up stuff just
          to - I would let them know after the fact, but I
          knew it was okay.
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                                                                    after the revocation -
                                                                       Q. Right
                                                                                                         Page 189
                                                                    indicated that letter was 02123. I mean, that's



                                                                       A. - of the 19th, so that - that, to me,
      5       Q. Okay. Do you have a specific memory of         5   makes no sense right now.
      6   speaking to anybody at Gregory Trucking when you      6      Q. Okay.
      7   were at BB&S to tell them you were doing the short    7      A. But I did get my hard copy. I believe I
      8   haul?                                                 8   got it on the 22nd and I took it straight over to
      9      A. I do not. I do not                              9   Martha because [ - having the fact that my
     10      Q. Do you have a specific memory ofteHing         10   parents had been in business and I had been in
     11   Martha when you were in Chicopee --                  11   business, driving records are imperative, I mean,
     12      A. Yes.                                           12   you know, that that stuffbe kept up with, so
     13       Q. -- at the Pride station --                    13   Martha was a stickler about keeping up with stuff,
     14      A. Yes, I do. I do. Yes,l do.                     14   so I took - I immediately took them to her.
     15      Q. Let me ask the complete question. Do           15   Because as soon as I got the temporary, I took
     16   you have a specific memory ofteHing Martha that      16   tbatto ber. The day I gotthat, I was leaving on
     17   you were engaged in a short haul up to Dalton when   17   a load, so the day I got my temporary certificate,
     18   you spoke to her in Chicopee?                        18   I immediately took it to Martha and gave her a
     19      A. Yeah, because she kept track of what we        19   copy ofthat, and when my hard copy came in, after
     20   were doing, so yeah, I'm sure I - yeah, I'm sure     20   the revocation that the State said they sent out,
     21   I made ber aware of that, yeah.                      21   I gave her a copy of that, so up until the
     22      Q. Okay.                                          22   accident I had no idea tbat was my license were
     23             MR. SCHULER: I don't think I have          23   revoked.




•
     24   any other questions. Thank: you very much.           24      Q. Okay. You've confused me a tittle bit
     25             TIlE WITNESS: Okay.                        25   with the temporary and the final--



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             A. Well, they give you a temporary. It's a
          2o..day certificate, along with your old license.
          Until the new one comes in, that's your license.
             Q. And that renewed in February of2016,
          correct?
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                                                                                                           Page 192
                                                                       Q. Okay. But the license that you had
                                                                    issued in February of 20 16 was a driver's license
                                                                    issued by the Department of Motor Vehicles of the
                                                                    State of North Carolina with an endorsement for
                                                                    CDL?
      6      A. My birthday, yep.                               6      A. Yes, sir.
      7      Q. Did you have to pay a fee for that?             7      Q. Okay. And, by the way, do you know why
      8      A. Seventy-five dollars.                           8   your license was revoked in February of2016?
      9      Q. Okay. And the first you knew that it            9       A. It might have - I have suspicions, but
     10   had been revoked was at the scene of the accident    10   I'm not sure. I mean, I think it had to do with
     11   per the--                                            11   the thing in 2013.
     12      A. Yes, sir.                                      12       Q. What thing in 2013?
     13      Q. -- police department?                          13       A. But that - the one that was on my
     14      A. Yes, sir. The officer down in Dalton           14   driving record, but they - but like 1 said, from
     15   notified me ofit. Now, I want it to be known         15   the time they - from the time I renewed my
     16   that she -- initially, when she ran my license and   16   license on my birthday to the 22nd, the 19th
     17   came back and we were checking them, Mr. Forbes      17   bappened a week after my birthday and they said
     18   being taken out of the vehicle, it was all wen       18   they revoked my license and then they sent it to
     19   and good and she told me as soon as this happened    19   me anyhow. That's what always has bamed me,
     20   in could make some arrangements to get out of        20   that in the process of them sending my license,
     21   there I was free to go, and it wasn't about 15       21   you're telling me their records didn't show that
     22   minutes later when - I heard a radio squawk over     22   they had revoked my license?
     23   there and she came over to me and asked me - she     23      Q. SO, do I understand that your thinking
     24   said, "Your license are good, but your CDLs are      24   is that your license was revoked because of
     25   revoked," which I've never heard of such a thing,    25   something that happened three years before in




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          so that's how that went down, and that's when she
          put me in handcuffs.
             Q. Talking about Officer Dina Stroud, at
          the scene--
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                                                                    2013?
                                                                       A.I-
                                                                          MR. O'CONNOR: Objection.
                                                                                                          Page 193




                                                                        A. I don't know, to be honest with you. I
      5      A.   Yeah, that's her.                             5   don't know.
      6      Q.   Okay.                                         6       Q. Okay. Okay.
      7      A.   Stroud, ycah.                                 7       A. I mean, you know, I was - I had a valid
      8      Q.  And was your understanding that your           8   -- all I know is I went to the DMV, I got a valid
      9   regular driver's license was still valid but your     9   driver's license, and they sent it to me.
     10   CDL was revoked?                                     10      Q. Okay. Now, the lumber that you hauled
     11      A. That's what she told me, which I'd never       11   for Gregory Trucking that emanated from B&C
     12   heard such a thing.                                  12   Timbers, was it treated lumber?
     13      Q. Did you get more than one license or did       13      A. The load I took to Davisville?
     14   you just have a                                      14      Q. Yes.
     15     A. No, sir.                                        15      A. No, it was not.
     16     Q. SO, you--                                       16      Q. Okay. And did you completely unload
     17     A. This day and age, it ain't like, you            17   that load in Davisville, also known as North
     18   know--                                               18   Kingstown, Rhode Island?
     19     Q. SO, as I understand it, you have a              19      A. Yes, I did.
     20   license -- or had a license with an ordinary --      20      Q. Was any of the lumber that you delivered
     21      A. The license they took was the license          21   to Dalton, did it come from B&C Timbers, also
     22   that the State of North Carolina sent to me--        22   known as G&G Forest Products?
     23      Q. Okay.                                          23      A. Say that again?




•
     24      A. - after the fact that they said they           24      Q. Did any of the lumber that you delivered
     25   had revocated my license.                            25   to L.P. Adams in Dalton, Massachusetts, come from


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•
                                             Page 194                                                              Page 196
      1   B&C Timbers, also known --                          1                  CERTIFICATION
      2      A. No.                                           2      I, BRENDA CARTER, Notary Public in and for the
      3      Q. -- as G&G Forest Products?                    3   County of Alamance, State of North Carolina at Large, do
      4      A. No, it did not.                               4   hereby certifY:
      S      Q. SO, you'd completely unloaded that            5      That there appeared before me the foregoing witness
      6   vehicle in Davisville?                              6   at the time and place herein aforementioned;
      7      A. Completely unloaded.                          7      That the said witness was sworn by me to state the
      8      Q. And did your delivery on behalf of - or       8   truth, the whole truth, and nothing bnt the truth, in
      9   for B&C Timbers' goods conclude in Davisville,      9   said cause;
     10   Rhode Island?                                      10      That the testimony was taken before me and recorded
     11      A. Yes, it did.                                 11   by Stenomask, thereafter reduced to typewriting under my
     12             MR. O'CONNOR; Objection.                 12   direct supervision, and the foregoing consecutively
     13      Q. Were you, in going to Dalton, acting on      13   numbered pages are a complete and accurate record of all
     14   any purpose or mission ofB&C Timbers, also known   14   the testimony given by said witness;
     15   as G&G Forest Products?                            15      That the undersigned is not of kin, nor in any wise
     16      A. No, sir (witness indicates negatively).      16   associated with any of the parties to said canse of
     17      Q. Did you receive any direction with           17   action, nor their counsel, and that I am not interested
     18   regard to that delivery from Brandon Gregory?      18   in the event(s) thereof.
     19      A. No, I did not (witness indicates             19      IN WITNESS WHEREOF, I have hereunto set my seal this
     20   negatively).                                       20   the 20th day of May, 2019.
     21             MR MEEHAN: That's all I have.            21
     22   Thank you.                                         22
     23             MR O'CONNOR: I don't have any            23
     24   questions.                                         24                      BRENDA CARTER
     25             MR. TANGREDI: I'm good.                  25                       NOTARY #:20043580030




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                   VIDEOGRAPHER: We're going off the
          record. The time now is 12:32. This completes
          today's deposition.
                WHEREUPON, at 12:32 p.m., deposition was
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                                                                                WITNESS CERTIFICATION
                                                                     I, WILEY LENUE HOOKS, JR., do hereby certifY,
                                                                                                                   Page 197



                                                                     That I have read and examined the contents of the
                                                                  foregoing pages of record of testimony as given by me at
      5   adjourned.                                          5   the times and place herein aforementioned;
      6                                                       6      And that to the best of my knowledge and belief, the
      7                                                       7   foregoing pages are a complete and accurate record of all
      8                                                       8   the testimony given by me at said time, except as noted
      9                                                       9   on the attached here (Addendum A).
     10                                                      10   I have ---" Have not ---" made changes/corrections to
     11                                                      11   be attached.
     12                                                      12
     13                                                      13      1, _ _ _ _ _ _ _ _ _ _ _--', Notary Public
     14                                                      14   for the County of _ _ _ _--', State of _ _ _ _-',
     15                                                      15     do hereby certifY:
     16                                                      16      That the herein above named personally appeared
     17                                                      17   before me this the _ _day of                            , 20~
     18                                                      18      And that I personally witoessed the execution of
     19                                                      19   this document for the intents and purposes herein above
     20                                                      20   described.
     21                                                      21
     22                                                      22                              NOTARY PUBLIC
     23                                                      23




•
     24                                                      24
     25                                                      25   My Counnission Expires:                (SEAL)




                                   Wyatt Legal Services                    l     LLC
    336-510-8515                                                                             hdwyatt@gmail.com
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    Wiley Lenue Hooks, Jr.                                                        4/26/2019
                                                                             51 (Page 198)



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                                                            Page 198
      1                   ADDENDUM A
      :<
      3       Upon the reading and examination of my deposition
      4    testimony as herein transcribed, I note the fullowing
      5    changes and/or corrections with accompanying reason(s)
      6    for said change/correction:
      7
      8             *************************
      9    Page    Line          Is Amended to Read
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                                              Wyatt Legal Services, LLC
                                                                          hdwyatt@gmail.com
